              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      BRYSON CITY DIVISION


UNITED STATES OF AMERICA      )
                              )
              vs.             )
                              ) CASE NO. 2:13-CR-15-MR-DLH
JEROME BROCK PARKER (1)       )
JERRY FRANCIS PARKER (2)      )
                              )
______________________________)


UNITED STATES OF AMERICA      )
                              )
              vs.             )
                              ) CASE NO. 2:13-CR-16-MR-DLH
DAVID CHADWICK CRISP (1)      )
DAVID FRANK CRISP (2)         )
ROBERT WILLIE BUMGARNER (5) )
                              )
______________________________)


                        MEMORANDUM DECISION
                            AND ORDER

      THESE MATTERS are before the Court on the above-named

defendants’ motions to dismiss the Indictments in their respective cases for

lack of subject matter jurisdiction [CR-15 Docs. 77, 80; CR-16 Docs. 77, 78,

86, 99, 100, and 103].1     Further, the defendants have filed motions to


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  Citations to the record contain the relevant docket (i.e. CR-15 or CR-16) and
document number.


    Case 2:13-cr-00015-MR-DLH   Document 112    Filed 08/01/14   Page 1 of 80
dismiss the Indictments due to constitutional due process violations [CR-15

92, 93; CR-16 Docs. 98, 102, 104], and four2 defendants have moved the

Court to dismiss the Indictments based on entrapment. [CR-15 Docs. 92,

93; CR-16 Docs. 98, 102].           Even though these cases were indicted

independently, they originate from the same undercover investigation.

More importantly, however, the legal analysis necessary to resolve the

motions pending in both cases overlaps to such an extent that the Court

finds it more efficient to set forth its reasoning in this comprehensive

memorandum, filed in both cases.

                  PROCEDURAL BACKGROUND IN CR-15

      Defendants Jerome Brock Parker (“Jerome Parker”) and Jerry

Francis Parker (“Jerry Parker”), together with Carl Wesley Junaluska II,3

Walter Henry Stancil,4 and Walter Cale Stancil,5 were named in a two-count

Indictment returned by the grand jury in this District on June 4, 2013. [CR-

15 Doc. 1]. Jerome Parker, Jerry Parker, and the three other men were
2
  Only CR-15 Defendants Jerome Brock Parker and Jerry Francis Parker, and CR-16
Defendants David Frank Crisp and Robert Willie Bumgarner have filed motions to
dismiss based upon entrapment.
3
 Defendant Junaluska was dismissed from this matter November 21, 2013. [CR-15
Doc. 73].
4
  Defendant Walter Henry Stancil has neither entered a guilty plea in this matter nor
joined in any of the dispositive motions discussed herein.
5
  Defendant Walter Cale Stancil was dismissed from this matter February 25, 2014.
[CR-15 Doc. 87].
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    Case 2:13-cr-00015-MR-DLH      Document 112     Filed 08/01/14   Page 2 of 80
charged in Count One with a two-object conspiracy to violate wildlife laws

and regulations in derogation of 18 U.S.C. § 371. The grand jury alleged

that from October 24, 2011, to October 28, 2011, in two separate incidents,

the defendants conspired to sell, acquire, receive, and transport American

black bear, with a market value in excess of $350, by providing guiding

services for money and other consideration, knowing the bear to have been

taken, possessed, transported, and sold in violation of federal law, and of

state law by assimilation. [Id. at 1-5]. Count Two alleged the defendants

should be punished federally, pursuant to 16 U.S.C. § 3372(a)(1),6 for

illegally taking wildlife on federal forest land in violation of North Carolina

wildlife laws and regulations as assimilated pursuant to 18 U.S.C. § 13. [Id.

at 5-6].

      Defendants were arraigned on June 17, 2013, and entered pleas of

not guilty to both counts. Following their arraignments, defendants were

released under pretrial supervision upon stated conditions. [CR-15 Docs.

8; 10]. On December 4, 2013, in nearly identical motions and memoranda,

the Parkers moved the Court to dismiss the Indictment filed against them

based upon the alleged want of subject matter jurisdiction. [CR-15 Docs.


6
  The Lacey Act, 16 U.S.C. § 3371 et seq., is a collection of statutes that imposes
federal penalties for certain violations of state fish and wildlife laws and regulations.
United States v. Dove, 247 F.3d 152, 156 (4th Cir. 2001).
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    Case 2:13-cr-00015-MR-DLH       Document 112      Filed 08/01/14    Page 3 of 80
77-81].     The Government responded by filing its Memorandum in

Opposition together with exhibits. [CR-15 Docs. 82; 83]. The Court heard

arguments from counsel for all parties on March 24, 2014, regarding

defendants’ dismissal motions. At the conclusion of the hearing, the Court

ordered additional briefing on the issue of the Court’s subject matter

jurisdiction. On March 28, 2014, Defendant Jerry Parker filed a Motion to

Dismiss for Entrapment and Due Process Violations [CR-15 Doc. 92] and a

brief supplementing his Motion to Dismiss for Lack of Jurisdiction. [CR-15

Doc. 92-1]. On that same day, Defendant Jerome Parker filed a Motion to

Dismiss for Entrapment and Due Process Violations [CR-15 Doc. 93] and a

brief supplementing his Motion to Dismiss for Lack of Jurisdiction. [CR-15

Doc. 94]. The Government responded with separate memoranda filed April

3, 2014, and April 18, 2014. [CR-15 Docs. 95; 96]. The Court conducted a

second hearing on the defendants’ motions on May 29, 2014.

                  PROCEDURAL BACKGROUND IN CR-16

      Defendants David Chadwick Crisp (“D.C. Crisp”) and David Frank

Crisp (“D.F. Crisp”), Robert Willie Bumgarner (“Bumgarner”), together with

Tommy Gene Queen,7 and Mitchell Allen Jenkins,8 were named in various

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  Pursuant to a written plea agreement [CR-16 Doc. 74], Defendant Queen entered a
plea of guilty to Count 3 of the Indictment on December 4, 2013, and, consequently, is
not a party to any of the dispositive motions discussed herein.

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    Case 2:13-cr-00015-MR-DLH      Document 112     Filed 08/01/14   Page 4 of 80
counts of an Indictment returned by the grand jury in this District on June 4,

2013. [CR-16 Doc. 1]. D.C. Crisp, D.F. Crisp, Bumgarner, and the other

two men were charged in Count One with an 18 U.S.C. § 371 conspiracy to

violate wildlife laws and regulations.         The grand jury alleged that from

November 17, 2010, to December 13, 2011, the five defendants conspired

to sell, acquire, receive, and transport American black bear and white tail

deer, with a market value in excess of $350, knowing said wildlife was

taken, possessed, and transported in violation of federal law, and of state

law by assimilation. [Id. at 1-2]. Count Two alleged a Lacey Act violation

against D.C. Crisp, pursuant to 16 U.S.C. § 3372(a)(1), for illegally taking

wildlife on September 7, 2011, on federal forest land in violation of North

Carolina wildlife laws and regulations as assimilated pursuant to 18 U.S.C.

§ 13. [Id. at 2-3]. Count Three alleged a Lacey Act violation against D.C.

Crisp, Tommy Gene Queen, and Mitchell Allen Jenkins, pursuant to 16

U.S.C. § 3372(a)(1), for illegally taking wildlife on October 20, 2011, on

federal forest land in violation of North Carolina wildlife laws and

regulations as assimilated pursuant to 18 U.S.C. § 13. [Id. at 3]. Count

Four alleged a Lacey Act violation against D.C. Crisp, D.F. Crisp, Tommy

Gene Queen, and Mitchell Allen Jenkins, pursuant to 16 U.S.C. §

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  Defendant Jenkins has neither entered a guilty plea in this matter nor joined in any of
the dispositive motions discussed herein.
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    Case 2:13-cr-00015-MR-DLH       Document 112      Filed 08/01/14    Page 5 of 80
3372(a)(1), for illegally taking wildlife on October 26, 2011, on federal forest

land in violation of North Carolina wildlife laws and regulations as

assimilated pursuant to 18 U.S.C. § 13. [Id. at 4]. Count Five alleged a

Lacey Act violation against all five defendants, pursuant to 16 U.S.C. §

3372(a)(1), for illegally taking wildlife on November 9, 2011, on federal

forest land in violation of North Carolina wildlife laws and regulations as

assimilated pursuant to 18 U.S.C. § 13. [Id. at 4-5]. Count Six alleged a

Lacey Act violation against all five defendants, pursuant to 16 U.S.C. §

3372(a)(1), for illegally taking wildlife on November 9, 2011, (on an

occasion separate from that charged in Count Five) on federal forest land

in violation of North Carolina wildlife laws and regulations as assimilated

pursuant to 18 U.S.C. § 13. [Id. at 5-6].       Counts Seven and Eight each

alleged D.C. Crisp, on December 13, 2011, and October 8, 2012,

respectively, possessed different firearms while being an unlawful user of

and addicted to a controlled substance in violation of 18 U.S.C. § 922(g)(3).

[Id. at 6].

       Defendants were arraigned on June 17, 2013, and entered pleas of

not guilty. Following their arraignments, defendants were released under

pretrial supervision upon stated conditions. [CR-16 Docs. 8; 10; 17]. On

December 4, 2013, in nearly identical motions and memoranda, the


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   Case 2:13-cr-00015-MR-DLH     Document 112    Filed 08/01/14   Page 6 of 80
defendants moved the Court to dismiss the Indictment filed against them

based upon the alleged want of subject matter jurisdiction. [CR-16 Docs.

77-90].      The Government responded to these motions by filing its

Memorandum in Opposition together with exhibits. [CR-16 Docs. 91; 91-1

to 91-17].    The Court heard arguments from counsel for all parties on

March 24, 2014, regarding defendants’ motions to dismiss for lack of

subject matter jurisdiction.   At the conclusion of the hearing, the Court

ordered additional briefing on the issue of the Court’s subject matter

jurisdiction. On March 28, 2014, Defendant D.F. Crisp filed a Motion to

Dismiss for Entrapment and Violation of Due Process [CR-16 Doc. 98], as

well as a motion and brief supplementing his Motion to Dismiss for Lack of

Jurisdiction. [CR-16 Docs. 99; 101].        On that same day, Defendant

Bumgarner filed a Motion to Dismiss for Entrapment and Violation of Due

Process [CR-16 Doc. 102], as well as a motion and brief supplementing his

Motion to Dismiss for Lack of Jurisdiction. [CR-16 Docs. 100; 102-1].

Finally, Defendant D.C. Crisp, on March 28, 2014, filed a motion and brief

supplementing his Motion to Dismiss for Lack of Jurisdiction [CR-16 Docs.

103; 104].     His brief, however, contained an argument asserting the

Indictment against him should be dismissed based upon law enforcement

officers’ alleged due process violations.      [CR-16 Doc. 104 at 9]. The


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   Case 2:13-cr-00015-MR-DLH    Document 112    Filed 08/01/14   Page 7 of 80
Government responded with separate memoranda filed April 11, 2014, and

April 17, 2014. [CR-16 Docs. 105; 106]. All of the defendants’ motions are

now ripe for the Court’s review.

                           STANDARD OF REVIEW9

      Federal subject matter jurisdiction in a criminal case – this Court's

statutory or constitutional power to adjudicate cases – can never be

forfeited or waived. Consequently, defects in subject matter jurisdiction

require correction regardless of when the error is raised. United States v.

Cotton, 535 U.S. 625, 630 (2002); United States v. Hartwell, 448 F.3d 707,

715 (4th Cir. 2006) (any action by a court without subject matter jurisdiction

is ultra vires and therefore void).

      In contrast, certain defects in an indictment are not fatal to a court’s

subject matter jurisdiction because the grand jury right can be waived.

Cotton, 535 U.S. at 630; United States v. Carr, 303 F.3d 539, 542–43 (4th

Cir. 2002). Cotton thus directs the Court to examine the nature of the error

about which the defendants complain. The distinction between indictments

containing a non-fatal defect versus those containing a defect depriving a

court of subject matter jurisdiction lies with whether the grand jury failed to
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  The review standard in this portion of the Order applies to defendants’ dismissal
motions based upon subject matter jurisdiction. The standards of review for the
defendants’ two remaining issues, the Government’s alleged entrapment and due
process violations, will be addressed in the discussion of their respective sections
below.
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    Case 2:13-cr-00015-MR-DLH      Document 112    Filed 08/01/14   Page 8 of 80
allege an essential element of the crime, which is a non-fatal defect, or

whether it failed to allege behavior that was criminal, a fatal defect going to

a court’s power to adjudicate guilt and punishment. Hartwell, 448 F.3d at

717. See also United States v. Peter, 310 F.3d 709, 715–16 (11th Cir.

2002) (holding a court is without jurisdiction to accept a guilty plea to a non-

offense and all criminal proceedings thereafter are void); United States v.

Moloney, 287 F.3d 236, 239 (2d Cir. 2002) (holding a guilty plea does not

waive a claim that the indictment charges a non-offense because such a

claim asserts a fatal jurisdictional defect); United States v. Rosa–Ortiz, 348

F.3d 33, 36 (1st Cir. 2003) (citing Peter and holding a court lacks subject

matter jurisdiction to enter a judgment of conviction when the indictment

charges no offense under applicable law).

      In case CR-15, defendants Jerry and Jerome Parker contend the

Court lacks subject matter jurisdiction over one overt act charged in Count

One and the offense charged in Count Two. With regard to case CR-16,

defendant Bumgarner contends the Court lacks subject matter jurisdiction

over the offenses charged in Count One, Count Five, and Count Six

against him. [CR-16 Doc. 77 at 1-6]. Defendant D.C. Crisp contends the

Court lacks subject matter jurisdiction over the offenses charged in Counts

One through Six, inclusive, against him. [CR-16 Doc. 78 at 1-6]. Defendant


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   Case 2:13-cr-00015-MR-DLH    Document 112     Filed 08/01/14   Page 9 of 80
D.F. Crisp contends the Court lacks subject matter jurisdiction over the

offenses charged in Count One, Count Four, Count Five, and Count Six

against him. [CR-16 Doc. 86 at 1-6].

      Where, as here, the alleged defect is not merely a missing element or

fact, but is an allegation of conduct that, as a matter of law, would be

beyond the purview of the statutes charged, the alleged defect implicates

this Court’s subject matter jurisdiction and must be addressed.

      The issue to be resolved is whether the alleged killing of wildlife

occurred on property over which the federal government had authority to

exercise legislative control. Because the issue in these cases is before the

Court on the defendants’ motions to dismiss, the Court must assume that

all facts proffered by the Government or alleged by the grand jury are true.

United States v. Terry, 257 F.3d 366, 367 (4th Cir. 2001); United States v.

Lund, 853 F.2d 242, 244 (4th Cir. 1988) (assuming, for purposes of

defendant’s dismissal motion, that he participated in all acts described in

the indictment).

                   FACTUAL BACKGROUND IN CR-15

      Set forth below are the facts alleged by the grand jury in the “Overt

Acts” portion of the CR-15 Indictment which the Court assumes to be true

at this stage of the proceedings.


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  Case 2:13-cr-00015-MR-DLH    Document 112   Filed 08/01/14   Page 10 of 80
         1) JERRY FRANCIS PARKER was an owner and
   operator of War Paint Kennels, a hunting guide service located
   in Rabun County, Georgia. On or about October 24, 2011, in
   Rabun County, JERRY FRANCIS PARKER received $1500 in
   cash to provide a multi-day guided bear hunt to a customer
   ("the customer") whom he knew to be a North Carolina resident
   and to be licensed to hunt only in North Carolina. The customer
   had arranged for this hunting trip through telephone and email
   communications between himself in the Western District of
   North Carolina and JERRY FRANCIS PARKER in Georgia.

         2) On or about October 24, 2011, JERRY FRANCIS
   PARKER directed CARL W. JUNALUSKA II to guide the
   customer on a bear hunt. JUNALUSKA complied, and took the
   customer hunting in Macon County, North Carolina, in the
   Nantahala National Forest. JUNALUSKA did not have a valid
   North Carolina guide license. Neither JUNALUSKA, JERRY
   FRANCIS PARKER, nor War Paint Kennels possessed a
   United States Forest Service special-use authorization, which
   was legally required in order to conduct a work activity or
   service, including a hunting guide service, in the national forest.

         3) Later in the day on or about October 24, 2011,
   JEROME BROCK PARKER guided the customer on a bear
   hunt in Macon County, North Carolina, in the Nantahala
   National Forest. JEROME BROCK PARKER directed the
   customer to shoot an American black bear, and the customer
   did so, killing it. That bear was a juvenile, weighing less than
   the 50 pounds minimum required by North Carolina law. North
   Carolina law limits a hunter to taking only one bear per season.
   JEROME BROCK PARKER informed the customer that he
   could tag and report the bear, in compliance with state wildlife
   laws, but that if the customer wanted a bigger bear they could
   get one. JEROME BROCK PARKER called his father, JERRY
   FRANCIS PARKER, and explained what had happened, and
   JERRY FRANCIS PARKER told the customer that it was up to
   the customer to decide what to do, but if the customer wanted
   to keep hunting, they could get him another bear. After that
   conversation, JEROME BROCK PARKER advised the
   customer to hide the bear carcass in a cave, not report it, and
                                   11

Case 2:13-cr-00015-MR-DLH   Document 112     Filed 08/01/14   Page 11 of 80
   to continue hunting. The customer then hid the carcass in a
   cave and continued hunting. JEROME BROCK PARKER, also,
   did not possess a United States Forest Service special-use
   authorization permitting him to conduct a work activity or
   service in the national forest.

         4) On or about October 25 and 26, 2011, JERRY
   FRANCIS PARKER arranged for other persons whose identity
   is known to the Grand Jury to guide the customer on bear hunts
   in Macon County, North Carolina, but no bear was taken.

         5) On or about October 27, 2011, JERRY FRANCIS
   PARKER guided the customer on a bear hunt in Macon County,
   North Carolina, but this hunt was unsuccessful. JERRY
   FRANCIS PARKER then drove the customer into Rabun
   County, Georgia, and guided him on a bear hunt there,
   although he knew the customer did not have a Georgia hunting
   license. That hunt, too, was unsuccessful.

         6) Later on or about October 27, 2011, JERRY FRANCIS
   PARKER arranged for WALTER HENRY STANCIL to take the
   customer on a bear hunt in Rabun County, Georgia. STANCIL
   took the customer to a location in Rabun County and directed
   the customer to an area where STANCIL maintained a bait site,
   using a chocolate product as the bait. Georgia law prohibits the
   use of any type of bait to concentrate the bear population in any
   area or to lure them to any location that gives or might give a
   hunter an unnatural advantage when hunting bear. STANCIL
   described the various bears that frequented that site and gave
   the customer instructions on which ones should or should not
   be shot. Later that day, at that site, the customer shot and killed
   an adult black bear. WALTER HENRY STANCIL and his adult
   son, WALTER CALE STANCIL assisted the customer in
   transporting the bear carcass to the residence of JERRY
   FRANCIS PARKER, using WALTER CALE STANCIL's Toyota
   truck. JERRY FRANCIS PARKER and the customer processed
   the bear carcass. PARKER directed the customer to falsely
   report that the bear had been taken in North Carolina by
   "punching" his North Carolina license and reporting the kill to
   North Carolina wildlife authorities within 48 hours.
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Case 2:13-cr-00015-MR-DLH   Document 112    Filed 08/01/14   Page 12 of 80
              7) On or about October 28, 2011, the customer
        transported the skin and meat from the bear from Rabun
        County, Georgia, into Macon County, North Carolina.

[CR-15 Doc. 1 at 2-4].

                     FACTUAL BACKGROUND IN CR-16

        Set forth below are the facts alleged by the grand jury in the CR-16

Indictment which the Court, like the prior factual recitation, assumes to be

true.

                                    COUNT ONE
               From on or about November 17, 2010, through on or
        about December 13, 2011, in Graham County, within the
        Western District of North Carolina, and elsewhere, the
        defendants 1) DAVID CHADWICK CRISP, 2) DAVID FRANK
        CRISP; 3) TOMMY GENE QUEEN, 4) MITCHELL ALLEN
        JENKINS, and 5) ROBERT WILLIE BUMGARNER, did
        unlawfully, willfully, knowingly and intentionally combine,
        conspire, confederate and agree with one another and with
        others known and unknown to the Grand Jury to knowingly
        acquire, receive, and transport wildlife with a market value in
        excess of $350, that is, American black bear and whitetail deer,
        which the defendants knew was taken, possessed, and
        transported in violation of and in a manner unlawful under
        Federal law, that is, Title 18, United States Code, § 13 and Title
        36 CFR § 261.8(a), incorporating North Carolina law, that is,
        N.C.G.S. §§ 113-270.3(c), 113-291.1(b)(2), 113-291.2(a), 113-
        294(c1), 113-294(d), 113-294(r), and 15A N.C.A.C. 10B.0107,
        all in violation of Title 16, United States Code, §§ 3372(a)(1)
        and 3373(d)(1)(B).

                                   OVERT ACTS
              In furtherance of this conspiracy, and in order to effect the
        object thereof, the defendants did commit the overt acts, among
        others, that are set forth more fully in Count Two through Count
                                        13

  Case 2:13-cr-00015-MR-DLH      Document 112     Filed 08/01/14   Page 13 of 80
   Six of this Bill of Indictment, which are incorporated herein by
   reference.
                    OBJECT OF THE CONSPIRACY
         It was the object of the conspiracy that the defendants
   would illegally take wildlife, that is, American black bear and
   whitetail deer, within the Nantahala National Forest and then
   transport that wildlife out of the National Forest for purposes of
   dismembering that wildlife and dividing portions of that wildlife
   among themselves and others. All in violation of Title 18, United
   States Code, Section 371.

                              COUNT TWO
         On or about September 7, 2011, in the Nantahala
   National Forest, in Graham County, within the Western District
   of North Carolina, and elsewhere, the defendant, 1) DAVID
   CHADWICK CRISP, did knowingly acquire, receive, and
   transport wildlife with a market value in excess of $350, that is,
   an American black bear, which the defendant knew was taken,
   possessed, and transported in violation of and in a manner
   unlawful under Federal law, that is, Title 18, United States
   Code, § 13 and Title 36 CFR § 261.8(a), incorporating North
   Carolina law, that is, N.C.G.S. §§ 113.270.3(c), 113-
   291.1(b)(2), 113-291.2(a), 113-294(c1), and 113-294(r), in that
   the black bear had been taken during the closed season, had
   been taken with the use and aid of any artificial light, had been
   taken with the use and aid of a sugar-based material as bait,
   and of processed food products as bait, to wit, chocolate waste,
   had been taken without being validated on a big game harvest
   report card at the site of kill, and had been taken without being
   validated as a big game kill with the nearest big game
   cooperator agent. All in violation of Title 16, United States
   Code, Sections 3372(a)(1) and 3373(d)(1)(B).

                           COUNT THREE
         On or about October 20, 2011, in the Nantahala National
   Forest, in Graham County, within the Western District of North
   Carolina, and elsewhere, the defendants, 1) DAVID
   CHADWICK CRISP, 3) TOMMY GENE QUEEN, and 4)
   MITCHELL ALLEN JENKINS, did knowingly acquire, receive,
   and transport wildlife with a market value in excess of $350,
                                  14

Case 2:13-cr-00015-MR-DLH   Document 112    Filed 08/01/14   Page 14 of 80
   that is, an American black bear, which the defendants knew
   was taken, possessed, and transported in violation of and in a
   manner unlawful under Federal law, that is, Title 18, United
   States Code, § 13 and Title 36 CFR § 261.8(a), incorporating
   North Carolina law, that is, N.C.G.S. §§ 113-270.3(c), 113-
   291.2(a), and 113-294(c1), and 15A N.C.A.C. 10B.0107, in that
   the black bear had been taken as a female American black
   bear with a cub or cubs at its side, had been taken without
   being validated on a big game harvest report card at the site of
   kill, and had been taken without being validated as a big game
   kill with the nearest big game cooperator agent, and did aid and
   abet one another in the commission of such offense. All in
   violation of Title 16, United States Code, Sections 3372(a)(1)
   and 3373(d)(1)(B), and Title 18, United States Code, § 2.

                              COUNT FOUR
          On or about October 26, 2011, in the Nantahala National
   Forest, in Graham County, within the Western District of North
   Carolina, and elsewhere, the defendants, 1) DAVID
   CHADWICK CRISP, 2) DAVID FRANK CRISP, 3) TOMMY
   GENE QUEEN, and 4) MITCHELL ALLEN JENKINS, did
   knowingly acquire, receive, and transport wildlife with a market
   value in excess of $350, that is, a whitetail deer, which the
   defendants knew was taken, possessed, and transported in
   violation of and in a manner unlawful under Federal law, that is,
   Title 18, United States Code, § 13 and Title 36 CFR § 261.8(a),
   incorporating North Carolina law, that is, N.C.G.S. §§
   113.270.3(c), 113-291.2(a), and 113-294(d), in that the whitetail
   deer had been taken during the closed season, had been taken
   without being validated on a big game harvest report card at the
   site of kill, and had been taken without being validated as a big
   game kill with the nearest big game cooperator agent, and did
   aid and abet one another in the commission of such offense. All
   in violation of Title 16, United States Code, Sections 3372(a)(1)
   and 3373(d)(1)(B), and Title 18, United States Code,§ 2.

                          COUNT FIVE
         On or about November 9, 2011, in the Nantahala National
   Forest, in Graham County, within the Western District of North
   Carolina, and elsewhere, the defendants, 1) DAVID
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Case 2:13-cr-00015-MR-DLH   Document 112   Filed 08/01/14   Page 15 of 80
   CHADWICK CRISP, 2) DAVID FRANK CRISP, 3) TOMMY
   GENE QUEEN, 4) MITCHELL ALLEN JENKINS, and 5)
   ROBERT WILLIE BUMGARNER, did knowingly acquire,
   receive, and transport wildlife with a market value in excess of
   $350, that is, an American black bear, which the defendants
   knew was taken, possessed, and transported in violation of and
   in a manner unlawful under Federal law, that is, Title 18, United
   States Code § 13 and Title 36 CFR § 261.8(a), incorporating
   North Carolina law, that is, N.C.G.S. §§ 113.270.3(c), 113-
   291.2(a), and 113-294(c1), in that the black bear had been
   taken without being validated on a big game harvest report card
   at the site of kill, and had been taken without being validated as
   a big game kill with the nearest big game cooperator agent, and
   did aid and abet one another in the commission of such
   offense. All in violation of Title 16, United States Code, Sections
   3372(a)(1) and 3373(d)(1)(B), and Title 18, United States Code,
   § 2.

                             COUNT SIX
          On or about November 9, 2011, in the Nantahala National
   Forest, in Graham County, within the Western District of North
   Carolina, and elsewhere, the defendants, 1) DAVID
   CHADWICK CRISP, 2) DAVID FRANK CRISP, 3) TOMMY
   GENE QUEEN, 4) MITCHELL ALLEN JENKINS, and 5)
   ROBERT WILLIE BUMGARNER, on a separate occasion from
   that charged in Count Five of this Bill of Indictment, did
   knowingly acquire, receive, and transport wildlife with a market
   value in excess of $350, that is, an American black bear, which
   the defendants knew was taken, possessed, and transported in
   violation of and in a manner unlawful under Federal law, that is,
   Title 18, United States Code, § 13 and Title 36 CFR § 261.8(a),
   incorporating North Carolina law, that is, N.C.G.S. §§
   113.270.3(c), 113-291.2(a), and 113-294(c1), in that the black
   bear had been taken without being validated on a big game
   harvest report card at the site of kill, and had been taken
   without being validated as a big game kill with the nearest big
   game cooperator agent, and did aid and abet one another in
   the commission of such offense. All in violation of Title 16,
   United States Code, Sections 3372(a)(l) and 3373(d)(1)(B), and
   Title 18, United States Code, § 2.
                                   16

Case 2:13-cr-00015-MR-DLH   Document 112     Filed 08/01/14   Page 16 of 80
[CR-16 Doc. 1 at 2-6].



                                     DISCUSSION

         The defendants advance three arguments in an effort to persuade the

Court to dismiss the Indictments against them. First, they allege the Court

lacks subject matter jurisdiction over various charges set forth in the

Indictments. The defendants contend that the animals killed, assuming

they were taken on federal land in the Nantahala National Forest (“NNF”),10

were slain, for example, on “such tracts of property that was [sic] not

condemned and cannot be owned by the government.” [CR-15 Doc. 77 at

3].     In short, the defendants’ first argument asserts a deficiency in the

Government’s authority to legislate with regard to the land it acquired

encompassing the location of the offenses. The Government’s lack of

authority over the pertinent sites within the NNF, according to the

defendants’ argument, provides the Government no power to prosecute or

punish the defendants’ conduct resulting in the taking of wildlife there and

thus deprives this Court of subject-matter jurisdiction.                Additionally, the

10
   As a defense in this matter, the defendants assert that no wildlife was taken on
federal forest land at all but instead was killed on private property never owned nor
regulated by the federal government. The precise location of each wildlife kill site,
however, is a matter that must be resolved by the trier of fact, in this case, a petit jury.


                                            17

      Case 2:13-cr-00015-MR-DLH      Document 112      Filed 08/01/14     Page 17 of 80
defendants contend that the grand jury’s allegations are insufficient to

assert any allegedly unlawful activities affecting interstate or foreign

commerce under the Lacey Act. Second, four of the named defendants

assert that they were entrapped by the law enforcement officers conducting

the investigation in these matters. Finally, all of the defendants claim that

the allegedly wrongful conduct by the officers carrying out this investigation

was of such magnitude as to deprive them of their constitutional right to

due process. These three11 arguments raised by the defendants will be

addressed seriatim.

I.      Subject Matter Jurisdiction Over National Forest Lands

        A.   North Carolina’s Land Grant Authority to the United States

             1.     N.C. Gen. Stat. § 104-5

        In the years following the Civil War, state and federal officials,

industrialists, conservationists, and concerned citizens throughout the

country began discussions, at both the local and national level, about
11
   The Parker defendants in CR-15 present a fourth argument asserting that “the
government has failed to establish the necessary elements of knowledge, intent, or
agreement” by these defendants to sustain federal jurisdiction. [CR-15 Doc. 79 at 5;
CR-15 Doc. 81 at 5]. As an initial matter, the grand jury found sufficient facts probably
exist to support each of these elements, and as such, these issues must be resolved by
a petit jury going forward. Nevertheless, this potential failure of proof is not, as the
Parker defendants contend, a legal issue implicating subject matter jurisdiction. The
behavior of the Parker defendants consistent with facts supporting these elements, if
believed by a petit jury, is conduct proscribed by federal law and subject to punishment.
In other words, it is conduct that would support a conviction for a federal offense, as
contrasted with behavior that would amount to no offense under applicable federal law.


                                           18

     Case 2:13-cr-00015-MR-DLH      Document 112      Filed 08/01/14   Page 18 of 80
timber as a natural resource, its depletion, and the need or desire for a

national forestry policy.12 These discussions percolated up to state houses

and Congress who, following debate and compromise, enacted legislation.

As discussed in greater detail in Part I.C., below, the Executive and

Legislative Branches of the federal government, in the late 1800s, began

proclaiming public lands on the western frontier as parks and forest

reservations. Having acquired the lands west of the Mississippi by

purchase or conquest before granting statehood to the various U.S.

territories, the federal government encountered little legal resistance, in

pursuing its ambitious forest land set-aside project, from newly minted

States.

        On the East Coast, however, where title to property did not originate

in the United States, the federal government had to begin a delicate

conversation with the States and their citizens, who were the primary

landholders of forested places. This discussion was focused upon the

federal government’s acquisition and administration of certain real property

which needed to be accomplished within the constitutional parameters of

our dual-sovereign system of government. As a concession to the States,
12
  Gerald W. Williams, The USDA Forest Service - The First Century, at 1-2, USDA FS-
650 (2005) available at http://www.foresthistory.org/ASPNET/Publications/first_century/
sec1.htm (last accessed July 31, 2014) (herein “Williams”). Screen-shots of the
pertinent pages of this website and all other websites cited herein are attached in the
Appendix to this Memorandum Decision and Order.
                                          19

     Case 2:13-cr-00015-MR-DLH     Document 112     Filed 08/01/14    Page 19 of 80
Congress made clear that land obtained for forest reserves would be jointly

governed by both sovereigns.

     The jurisdiction, both civil and criminal, over persons within
     such reservations, shall not be affected or changed by reason
     of the existence of such reservations, except so far as the
     punishment of offenses against the United States therein is
     concerned; the intent and meaning of this provision being that
     the State wherein any such reservation is situated shall not, by
     reason of the establishment thereof, lose its jurisdiction, nor the
     inhabitants thereof their rights and privileges as citizens, or be
     absolved from their duties as citizens of the State.

Act of June 4, 1897, ch. 2, 30 Stat. 11, 32, 36 (1897) (herein the “Forest

Management Act”). When considering how the federal government might

exercise jurisdictional authority over any national forest lands, Congress

determined that seeking permission, rather than forgiveness, from the

States in this regard was the more prudent approach, paving the way for a

less contentious acquisition process.

     At the end of the Nineteenth Century, having learned that the federal

government was considering purchasing land in the Blue Ridge mountain

range of the southeastern United States to become a national forest, the

General Assembly of North Carolina prospectively ceded jurisdiction to the

United States over lands within the state’s borders contemplated for use as

such. North Carolina’s 1901 statute provided as follows:

     Section 1. That the consent of the General Assembly of North
     Carolina be and is hereby given to the acquisition by the United
                                        20

  Case 2:13-cr-00015-MR-DLH    Document 112   Filed 08/01/14   Page 20 of 80
   States by purchase, or by condemnation with adequate
   compensation, except as hereinafter provided, of such lands in
   Western North Carolina as in the opinion of the Federal
   Government may be needed for the establishment of such a
   national forest reserve in that region: Provided, that the State
   of North Carolina shall retain a concurrent jurisdiction with the
   United States in and over such lands so far that civil process in
   all cases, and such criminal process as may issue under the
   authority of the State of North Carolina against any person
   charged with the commission of any crime without or within said
   jurisdiction, may be executed thereon in like manner as if this
   act had not been passed.

   Sec. 2. That power is hereby conferred upon Congress to pass
   such laws as it may deem necessary to the acquisition as
   hereinbefore provided, for incorporation in said nation forest
   reserve, as such forest covered lands lying in Western North
   Carolina as in the opinion of the Federal Government may be
   needed for this purpose: Provided, that as much as two
   hundred acres of any tract of land occupied as a home by
   bona fide residents in this State at the date of the
   ratification of this act shall be exempt from the provisions
   of this section.

   Sec. 3. Power is hereby conferred upon Congress to pass
   such laws and to make or provide for the making of such rules
   and regulations, of both civil and criminal nature and provide
   punishment therefor, as in its judgment may be necessary for
   the management, control, and protection of such lands as may
   be from time to time acquired by the United States under the
   provisions of this act.

   Sec. 4. That this act shall be in force from and after its
   ratification.

          In the General Assembly read three times, and ratified
   this the 18th day of January, A.D. 1901.




                                  21

Case 2:13-cr-00015-MR-DLH   Document 112   Filed 08/01/14   Page 21 of 80
1901 N.C. Sess. Laws, ch. 17,13 later codified at N.C. Gen. Stat. § 104-5

(emphasis added).

        Reading the original enactment of section 104-5 on a paragraph by

paragraph basis makes plain the intent of the North Carolina legislature to

convey sweeping legislative authority, and comprehensive jurisdiction, to

the federal government. Section 1 grants the federal government the broad

right to purchase – either voluntarily (by negotiated sale) or involuntarily (by

condemnation) – property in Western North Carolina for the establishment

of federal forest lands. Further, even though the federal government would

become the fee simple owner of the property so acquired, North Carolina

would retain concurrent jurisdiction with regard to civil and criminal process.

North Carolina’s retention of jurisdictional rights, as explained by the

Supreme Court, served a salutary purpose. It “was made with a view to

prevent the territory from becoming a sanctuary for debtors and criminals[.]”

Ft. Leavenworth R. v. Lowe, 114 U.S. 525, 535 (1885) (describing similar

provision of Massachusetts law).

        Having granted the federal government the right to acquire North

Carolina property in Section 1, the North Carolina legislature in Section 2

granted Congress the authority to “pass such laws as it may deem

13
  From 1901 through 1929, when the statute took its present form, it was amended in
ways not relevant to this discussion.
                                        22

     Case 2:13-cr-00015-MR-DLH   Document 112     Filed 08/01/14   Page 22 of 80
necessary to the acquisition” of such property in North Carolina. Sensitive

to the property rights of its residents, however, North Carolina wished to

provide protection for its rural mountain homesteaders. Section 2 thus

appears to exempt estates of less than two hundred acres “from the

provisions of this section.” The defendants argue that this clause imposes

on the Government the obligation to prove in this criminal proceeding that

the property where the alleged unlawful events occurred was not a part of

such a residential tract at the time of acquisition by the federal government.

If the Government is unable to do so, defendants argue, then the property

was exempt from such acquisition and control by the federal government

as national forest land and the federal government possesses no

jurisdiction. The Government, on the other hand, argues that this proviso is

an affirmative defense in a condemnation proceeding: a right belonging to

the homesteader whose lands the federal government seeks to condemn.

It could only be employed, according to the Government, by the

homesteader at the time of the federal government’s initiation of an

involuntary acquisition.   Absent that, title would pass to the federal

government and the property would become part of the national forest.

Hence, the Government argues, the proviso imposes no additional element

to proving the defendants’ crimes herein.


                                     23

  Case 2:13-cr-00015-MR-DLH    Document 112    Filed 08/01/14   Page 23 of 80
     This dispute as to the construction of Section 2 boils down to whether

the proviso is a self-executing homestead exemption that by operation of

law automatically removed from the universe of potential federal properties

“as much as two hundred acres of any tract of land occupied as a home”

(as defendants argue), or whether the proviso is in the nature of an

avoidance or an affirmative defense that, if raised “by bona fide residents”

at the time of condemnation would bar the federal government from taking

their exempted land involuntarily (as the Government argues).             The

structure of the original § 104-5 statute discloses that the North Carolina

legislature intended the proviso set forth in section 2 to be an avoidance,

not a self-executing exemption.

     The Court begins by considering what the North Carolina General

Assembly accomplished in drafting section 2. This section contains

operational provisions: it gives the federal government the authority to

formulate legislation aimed at the federal government’s manner of acquiring

North Carolina    property from     the   State’s   residents. The federal

government, therefore, was given the authority to develop a legal

procedure by which it could acquire property in North Carolina via

condemnation for use as federal forest land.        The federal government

adopted such procedures when it passed the Weeks Forestry Act in 1911,


                                    24

  Case 2:13-cr-00015-MR-DLH   Document 112    Filed 08/01/14   Page 24 of 80
discussed more fully below.      Given that the North Carolina legislature

granted the federal government unbridled authority to develop a procedure

to acquire land within North Carolina for the common good, it follows

logically that the State legislature would then place the burden of blocking

any such acquisition on the individual property owner intent upon

maintaining his land, if he so chose.

      Put simply, the State gave the federal government the power to

create a cause of action enabling it to take North Carolina land for federal

forest purposes. Aggrieved North Carolina land owners, on the other hand,

were given a trump card of sorts by the General Assembly in the form of

the affirmative defense of exemption. “Generally speaking, affirmative

defenses share the common characteristic of a bar to the right of recovery

even if the general complaint were more or less admitted to.” Emergency

One, Inc., v. Am. Fire Eagle Engine Co., 332 F.3d 264, 271 (4th Cir. 2003)

(citation omitted). At the very least, the land owner could stop the federal

government’s seizure of his home (and up to 200 acres of his land) no

matter how legitimate or generous the federal government’s acquisition

procedure turned out to be. In addition, Section 2 is somewhat akin to the

affirmative defense of set-off. For example, a land owner, holding 600

acres of property that the government would like to acquire, could claim as


                                        25

  Case 2:13-cr-00015-MR-DLH    Document 112   Filed 08/01/14   Page 25 of 80
exempt only “as much as two hundred acres” and only if that two hundred

acres was a part of a “tract of land occupied as a home[.]”               Accordingly,

the land owner could set-off his home and two hundred acres of his

choice;14 the remaining four hundred acres would still be subject to federal

acquisition for valuable consideration. Since the final choice of which two

hundred acres to keep presumably would reside with the homesteader, it is

not implausible to conclude that the preliminary choice of whether to claim

any exempt property at all is one that would fall on the homesteader to

assert at the outset. Consequently, while the North Carolina legislature

prohibited Congress from forcing a bona fide resident from relinquishing his

home and up to two hundred acres of his property, it did not permit such

resident to sleep on his rights. He had the duty to object, when the federal

government came calling for his land, or not be heard to complain

thereafter.

        Section 3, the last substantive section of the enactment, confers

broad power on Congress to pass civil and criminal laws regulating the


14
   Another argument weighing against the statute being self-executing is that the statute
is silent on the issue of which two hundred acres of an undivided homestead tract
exceeding that number would automatically become exempt. Who would choose the
particular 200 acres and what criteria would be used in making that choice? The North
Carolina General Assembly would not have intended, by operation of law, the
introduction of such uncertainty in land transactions clearly contemplated for use as
federal forests. The defendants’ argument, however, is entirely dependent on the North
Carolina General Assembly having intended such uncertainty.
                                           26

     Case 2:13-cr-00015-MR-DLH      Document 112      Filed 08/01/14   Page 26 of 80
management, control, and protection of the forest lands. As will be seen

further below, North Carolina’s grant of legislative power pursuant to § 104-

5 enabled the federal government to exercise concurrent jurisdiction

pursuant to the Enclave Clause of the Constitution, U.S. Const. art. I, § 8,

cl.17, over some of the forest land at issue in this case.

               2.     N.C. Gen. Stat. § 104-7

         In 1907, six years after enacting legislation permitting the federal

government to acquire title and concurrent jurisdiction over forest lands in

North Carolina pursuant to § 104-5, the State’s General Assembly passed

a similar law beneficial to the federal government but for a different

purpose. In accordance with what would later become N.C. Gen. Stat. §

104-7, the North Carolina legislature granted the federal government the

authority to acquire by purchase, condemnation, or otherwise, pursuant to

the Enclave Clause, “any land in the State required for customhouses,

courthouses, post offices, arsenals, or other public buildings whatever, or

for any other purposes of the government.” 1907 N.C. Sess. Laws, ch.

25,15 later codified at N.C. Gen. Stat. § 104-7 (emphasis added). As for the

State’s conveyance of jurisdiction to the federal government, the statute

stated:


15
     N.C. Gen. Stat. § 104-7 was amended in 2005, 2009, and 2012.
                                           27

     Case 2:13-cr-00015-MR-DLH      Document 112     Filed 08/01/14   Page 27 of 80
           Exclusive jurisdiction in and over any land so acquired by
     the United States shall be and the same is hereby ceded to the
     United States for all purposes except the service upon such
     sites of all civil and criminal process of the courts of this State;
     but the jurisdiction so ceded shall continue no longer than the
     said United States shall own such lands. The jurisdiction ceded
     shall not vest until the United States shall have acquired title to
     said lands by purchase, condemnation, or otherwise.

Id. For nearly one hundred years, before the reach of this statute’s grant of

land acquisition authority was greatly curtailed by amendment in 2005, the

federal government could acquire land within North Carolina, for any

federal governmental purpose, and would enjoy legislative jurisdiction over

said land automatically upon title passing to the United States. As

discussed below, North Carolina’s grant of legislative power to the federal

government pursuant to § 104-7 enabled the federal government to

exercise concurrent jurisdiction pursuant to the Enclave Clause over the

remaining forest land at issue herein.

     B.    The Enclave Clause of the U.S. Constitution

     The Supremacy Clause, U.S. Const., art. VI, § 2, grants the federal

government the power to acquire title to real property within the States,

whether by purchase, gift, or condemnation, without the consent of the

State in which such property is located. Kohl v. United States, 91 U.S. 367,

371 (1875). But without the State's “consent” the United States does not

obtain the jurisdictional benefits conferred by the Enclave Clause, Art. I, §
                                     28

  Case 2:13-cr-00015-MR-DLH    Document 112    Filed 08/01/14   Page 28 of 80
8, cl. 17. Therefore, where the federal government has acquired property

in North Carolina without such consent, its status as title holder is the same

as that of an ordinary private proprietor. James v. Dravo Contracting Co.,

302 U.S. 134, 141-42 (1937). To better understand the present role of the

Enclave Clause, it is necessary to understand its origin.

      Near the end of the Revolutionary War, the delegates assembled in

Philadelphia under the Articles of Confederation suffered continued

harassment at the hands of some disgruntled insurrectionists living in

Pennsylvania. So fearful of these insurgents were the delegates that they

ultimately moved to New Jersey. Joseph Story attributed to this event the

Framers’ creation of the Enclave Clause for inclusion into the Constitution.

      It is not improbable, that an occurrence, at the very close of the
      revolutionary war, had a great effect in introducing this
      provision into the constitution. At the period alluded to, the
      congress, then sitting at Philadelphia, was surrounded and
      insulted by a small, but insolent body of mutineers of the
      continental army. Congress applied to the executive authority of
      Pennsylvania for defence; but, under the ill-conceived
      constitution of the state at that time, the executive power was
      vested in a council consisting of thirteen members; and they
      possessed, or exhibited so little energy, and such apparent
      intimidation, that congress indignantly removed to New Jersey,
      whose inhabitants welcomed them with promises of defending
      them. Congress remained for some time at Princeton without
      being again insulted, till, for the sake of greater convenience,
      they adjourned to Annapolis. The general dissatisfaction with
      the proceedings of Pennsylvania, and the degrading spectacle
      of a fugitive congress, were sufficiently striking to produce this
      remedy. Indeed, if such a lesson could have been lost upon
                                     29

  Case 2:13-cr-00015-MR-DLH    Document 112    Filed 08/01/14   Page 29 of 80
      the people, it would have been as humiliating to their
      intelligence, as it would have been offensive to their honour.

3 Joseph Story, Commentaries, ch. XXIII, § 1214 (1833). The Enclave

Clause confers power upon Congress:

      To exercise exclusive legislation in all cases whatsoever,
      over [the District of Columbia], and to exercise like authority
      over all places purchased by the consent of the legislature of
      the state in which the same shall be, for the erection of forts,
      magazines, arsenals, dockyards, and other needful buildings.

U.S. Const. art. I, § 8, cl.17 (emphasis added).        The Enclave Clause

envisioned two distinct goals: granting Congress unfettered power over the

district to be established as the nation’s capital, and granting Congress like

power over property acquired inside the boundaries of States, with the

consent of such States, for national safety and enjoyment.

      The other part of the power, giving exclusive legislation over
      places ceded for the erection of forts, magazines, &c., seems
      still more necessary for the public convenience and safety. The
      public money expended on such places, and the public property
      deposited in them, and the nature of the military duties, which
      may be required there, all demand, that they should be
      exempted from state authority. In truth, it would be wholly
      improper, that places, on which the security of the entire Union
      may depend, should be subjected to the control of any member
      of it. The power, indeed, is wholly unexceptionable; since it can
      only be exercised at the will of the state; and therefore it is
      placed beyond all reasonable scruple.

3 Joseph Story, Commentaries, ch. XXIII, § 1219 (1833).




                                     30

  Case 2:13-cr-00015-MR-DLH    Document 112    Filed 08/01/14   Page 30 of 80
     The Supreme Court, over time, has construed this Clause to expand

the definition of “other needful buildings” while simultaneously narrowing

the Clause’s definition of “exclusive jurisdiction.” See James, 302 U.S. at

143 (“We construe the phrase ‘other needful buildings’ as embracing

whatever structures are found to be necessary in the performance of the

functions of the federal government.”). While the Framers designed the

Enclave Clause to provide Congress “exclusive” jurisdiction over enclaves,

any jurisdiction was predicated upon the consent of a State that was

authorizing acquisition by the federal government.

           Thus if the United States acquires with the ‘consent’ of
     the state legislature land within the borders of that State by
     purchase or condemnation for any of the purposes mentioned
     in Art. I, s 8, cl. 17, or if the land is acquired without such
     consent and later the State gives its ‘consent,’ the jurisdiction of
     the Federal Government becomes ‘exclusive.’ Since 1940
     Congress has required the United States to assent to the
     transfer of jurisdiction over the property, however it may be
     acquired. In either event—whether the land is acquired by
     purchase or condemnation on the one hand or by cession on
     the other—a State may condition its ‘consent’ upon its
     retention of jurisdiction over the lands consistent with the
     federal use.

Paul v. United States, 371 U.S. 245, 264-65 (1963) (emphasis added). It is

in this sense that Congress actually receives and accepts derivative

legislative power over the real property acquired from a consenting State

under the Enclave Clause.      “[T]he legislative jurisdiction acquired may


                                     31

  Case 2:13-cr-00015-MR-DLH    Document 112    Filed 08/01/14   Page 31 of 80
range from exclusive federal jurisdiction with no residual state police power,

to concurrent, or partial, federal legislative jurisdiction, which may allow the

State to exercise certain authority.” Kleppe v. New Mexico, 426 U.S. 529,

542 (1976) (internal citations omitted).

        The federal government’s acceptance of jurisdiction from a State, and

therefore the quantum of jurisdiction the federal government derives over

property it acquires within the State, has not always been clear. For

example, prior to February 1, 1940,16 the federal government was deemed

to have implicitly accepted such jurisdiction and jurisdictional limitations as

offered by a State in conjunction with its residents’ conveyance of property.

Lowe, 114 U.S. at 528 (“As we have said, there is no evidence before us

that any application was made by the United States for this legislation, but,

as it conferred a benefit, the acceptance of the act is to be presumed in the

absence of any dissent on their part.”). The Fourth Circuit likewise found

the federal government to have tacitly accepted such jurisdiction, and the

government’s tacit acceptance arises from Congress’ promulgation of 16




16
   Effective February 1, 1940, Congress amended certain statutes, including 40 U.S.C.
§ 255 (now codified at 40 U.S.C. § 3112). Pertinent to this discussion, Congress
mandated that “[u]nless and until the United States has accepted jurisdiction over lands
hereafter to be acquired as aforesaid, it shall be conclusively presumed that no such
jurisdiction has been accepted.” Act of February 1, 1940, ch.18, 54 Stat. 19.

                                          32

     Case 2:13-cr-00015-MR-DLH     Document 112      Filed 08/01/14   Page 32 of 80
U.S.C. § 551.17 United States v. Raffield, 82 F.3d 611, 612 (4th Cir. 1996);

Markham v. United States, 215 F.2d 56, 58 (4th Cir. 1954).

        After February 1, 1940, a State’s transfer of legislative jurisdiction

over real property did not take effect for federal purposes until formally

accepted by the head of the federal department that would have control

over the land. 40 U.S.C. § 3112(b) (“The individual shall indicate

acceptance of jurisdiction on behalf of the Government by filing a notice of

acceptance with the Governor of the State[.]”).

        C.   The Nation’s Forests

        The years preceding the Civil War saw the establishment of the

Department of the Interior in 1849. Act of March 3, 1849, 9 Stat. 395. The

Department of Agriculture, future home of the Forest Service, came about

shortly thereafter. Act of May 15, 1862, 12 Stat. 387. The establishment of

a national forest policy in general, and the idea behind designating national

forest lands in particular, came to fruition following the War.               The War




17
   In pertinent part, section 551 states, “The Secretary of Agriculture shall make
provisions for the protection against ... depredations upon the public forests and
national forests ... and he may make such rules and regulations and establish such
service as will insure the objects of such reservations, namely to regulate their
occupancy and use and to preserve the forests ... and any violation of ... such rules and
regulations shall be punished by a fine ... or imprisonment.”

                                           33

     Case 2:13-cr-00015-MR-DLH      Document 112      Filed 08/01/14   Page 33 of 80
occasioned not only the tragic loss of life, but also horrific property damage

and destruction.18

         The rebuilding in the South and the population growth in the North

after the Civil War, together with the nation’s westward expansion, hinted at

an impending lumber famine not previously experienced in this country.

Between 1850 and 1910, the nation’s annual timber lumber production

increased eight-fold.19 With this deforestation to satisfy the lumber needs

of a growing population came soil erosion, sedimentation of watersheds,

and the denudation of significant acreage. In 1864, just prior to the War’s

end, George Perkins Marsh published Man and Nature: Or the Earth as

Modified by Human Action, Harvard University Press. This work “was cited

almost immediately in executive reports, such as the annual report of the

commissioner of agriculture. [Marsh] was cited on the floor of Congress, in

committee reports, by other scientists, and eventually by land managers.”

Harold K. Steen, The Beginning of the National Forest System: National

Forests 1891-1991, at 5, USDA FS-488 (May 1991) available at

http://books.google.com/books/about/The_Beginning_of_the_National_For


18
     See Williams, supra, at footnote 12.
19
  William E. Shands, The Lands Nobody Wanted: The Legacy of the Eastern National
Forests, at 4 available at http://www.foresthistory.org/Publications/Books/Origins_
National_Forests/sec3.htm (last accessed July 31, 2014) (herein “Shands”) (see
Appendix).
                                            34

     Case 2:13-cr-00015-MR-DLH        Document 112   Filed 08/01/14   Page 34 of 80
est_Sys.html?id=XvYTAAAAYAAJ (herein “Steen”) (last accessed July 31,

2014) (see Appendix). In 1872, Congress “set apart a certain Tract of Land

lying near the Head-waters of the Yellowstone River as a public park” thus

creating this country’s first national park. Act of March 1, 1872, 17 Stat. 32-

33. Marsh’s book, together with the paper “On the Duty of Governments in

the Preservation of Forests” presented by Franklin B. Hough at the annual

meeting of the American Association for the Advancement of Science in

1873, prompted Congress to act further on forestry issues.

      Congress’ formal acts on forestry policy, initially, were snippets of

lawmaking. It should be noted here that the first three most significant

pieces of federal forestry legislation came about merely as amendments to

other bills. The first of these, establishing the nation’s first Forestry Agent,

was a hasty amendment to seed purchase legislation that was itself a part

of an omnibus governmental spending bill.       The bill’s language discloses

the obvious cut-and-paste nature of the amendment:

            For purchase and distribution of new and valuable seeds
      and plants, sixty thousand dollars: Provided, That two thousand
      dollars of the above amount shall be expended by the
      Commissioner of Agriculture as compensation to some man of
      approved attainments, who is practically well acquainted with
      methods of statistical inquery, and who has evinced an intimate
      acquaintance with questions relating to the national wants in
      regard to timber to prosecute investigations and inqueries, with
      the view of ascertaining the annual amount of consumption,
      importation, and exportation of timber and other forest-product,
                                      35

  Case 2:13-cr-00015-MR-DLH     Document 112    Filed 08/01/14   Page 35 of 80
        the probable supply for future wants, the means best adapted
        to their preservation and renewal, the influence of forests upon
        climate, and the measures that have been successfully applied
        in foreign countries, or that may be deemed applicable in this
        country, for the preservation and restoration or planting of
        forests; and to report upon the same to the Commissioner of
        Agriculture to be by him in a separate report transmitted to
        Congress. For expense of putting up the same, for labor,
        bagging paper, twine, gum, and other necessary materials, five
        thousand dollars; in all, sixty five thousand dollars.

Act of August 15, 1876, 19 Stat. 143, 167.               The Commissioner of

Agriculture chose Hough, the author of the paper “On the Duty of

Governments in the Preservation of Forests,” as the “man of approved

attainments” to become the first Forestry Agent. Steen at 7. In 1878, Hough

forwarded to the Agricultural Commissioner and to Congress his

comprehensive 650 page detailed report simply entitled, “Report on

Forestry.”     So impressed was Congress with Hough’s work that it

authorized the printing of 25,000 copies for distribution. Steen at 5. In

1886, Congress made the “Division of Forestry” and its Chief a permanent

part of the Department of Agriculture enabling the Commissioner20 “to

experiment and to continue an investigation and report upon the subject of

forestry[.]” Act of June 30, 1886, 24 Stat. 100, 103.



20
  In 1889, the Commissioner of Agriculture became the Secretary of Agriculture when
the Department of Agriculture was elevated to a Cabinet-level department. Act of
February 9, 1889, 25 Stat. 659.
                                        36

     Case 2:13-cr-00015-MR-DLH   Document 112     Filed 08/01/14   Page 36 of 80
      The second significant piece of federal forestry legislation, which also

came about merely as an amendment to another bill, was the Forest

Reserve Act. This bill, once signed into law, was known initially as the Act

of March 3, 1891. Later it took its title as the “Forest Reserve Act” from an

eleventh-hour amendment.

      Following the Civil War, Congress passed many measures aimed at

westward expansion, including land-grant laws. Two such laws, the Timber

Culture Act of 1873 and the Homestead Act of 1873, while approved with

the best of intentions, led to widespread fraud in their application. Steen at

18. In the midst of repealing the two offending 1873 statutes, and when the

twenty-three section bill to bring about such repeal was in conference

between the House and Senate, some member of Congress attached an

amendment designated as a new section twenty-four. Without debating

this new section, both bodies of Congress passed the bill and President

Benjamin Harrison signed it into law. Section 24, the only section of the bill

dealing with the reservation of forest land, and whose topic would later lend

its name to the entire law, read:

      Sec. 24 That the President of the United States may, from time
      to time, set apart and reserve, in any State or Territory having
      public land bearing forests, in any part of the public lands
      wholly or in part covered with timber or undergrowth, whether of
      commercial value or not, as public reservations, and the


                                     37

  Case 2:13-cr-00015-MR-DLH     Document 112   Filed 08/01/14   Page 37 of 80
        President shall, by public proclamation, declare                     the
        establishment of such reservations and the limits thereof.

Act of March 3, 1891, ch. 561, 26 Stat. 1095, 1103 (herein the “Forest

Reserve Act”).      Congress thus delegated21 to the President the power

through proclamation to set aside “any part of the public lands wholly or in

part covered with timber or undergrowth” as forest reservations.

Conspicuously absent from the Forest Reserve Act was the creation of, or

delegation to, any entity22 to administer new forest reservations.23

Nevertheless, President Harrison quickly went about reserving forest land,

setting aside what is now the Shoshone and Bridger-Teton National

Forests in Wyoming, within 30 days of signing the Forest Reserve Act.

Steen at 8. In all, President Harrison reserved 13 million acres of western

land and created 15 national forest reserves before leaving office. Id.



21
   Granting the President such proclamation power regarding timber was not new. Early
in the nation’s history Congress gave the President the power to select “vacant and
unappropriated lands of the United States as produce live oak and red cedar” as may
be necessary to furnish the navy “a sufficient supply of the said timbers.” Act of March
1, 1817, 3 Stat. 347.
22
   The administration of the forest reserves found its home in the Department of
Agriculture’s Bureau of Forestry on February 1, 1905. 33 Stat. 628. One month later,
on March 3, 1905, the Bureau of Forestry became the Forest Service. 33 Stat. 861,
872-23.
23
   “National forests” was substituted for “forest reservations” pursuant to the Act of
March 4, 1907, ch. 2907, 34 Stat. 1256, 1269, which stated that “forest reserves … shall
be known hereafter as national forests[.]”


                                          38

     Case 2:13-cr-00015-MR-DLH     Document 112      Filed 08/01/14   Page 38 of 80
        President Harrison was succeeded by Grover Cleveland in 1893.

Congress, meanwhile, faced with 15 new forest reserves and no

administrator to manage them, allocated $25,000 to the National Academy

of Sciences,24 under the supervision of the Secretary of the Interior, to

investigate and report “on the inauguration of a national forestry policy for

the forested lands of the United States[.]” Act of June 11, 1896, 29 Stat.

413, 432. The NAS appointed six official members to its National Forest

Commission, including Gifford Pinchot,25 former forester for George


24
   The National Academy of Sciences is a Congressionally chartered corporation
tasked, “whenever called upon by any department of the Government, [to] investigate,
examine, experiment, and report upon any subject of science or art, the actual expense
of such investigations, examinations, experiments, and reports, to be paid from
appropriations which may be made for that purpose[.]” Act of March 3, 1863, § 3, 12
Stat. 806, 807.
25
   It is entirely fitting that these matters come before the Court in this District and, in
particular, Asheville. The city of Asheville and its surrounding areas may genuinely be
regarded as the “cradle of forestry” given the many contributions Asheville residents
made to the national forest system. In addition to his influential role as the secretary for
the National Forest Commission, Pinchot was one of George Vanderbilt’s foresters. He
would go on to become the first Chief of the Forest Service. Also, it was Pinchot who
recommended to fellow Biltmore Estate forester, Carl Schenck, that the nation’s first
forestry school, the Biltmore School of Forestry, be established, which occurred on
Vanderbilt’s land in 1898. Shelly S. Mastran and Nan Lowerre, Mountaineers and
Rangers, at 13, USDA FS-380 (1983) available at http://books.google.com/books?hl=
en&output=acs_help&id=WYI07H72zj0C (last accessed July 31, 2014) (herein “Mastran
& Lowerre) (see Appendix). Vanderbilt himself began negotiations with the federal
government for the sale of some of his property for forest land. Following Vanderbilt’s
untimely death, his widow, Edith, sold nearly 87,000 acres to the federal government
pursuant to the Weeks Forestry Act, discussed infra. This tract – later deemed the
“cradle of forestry” – became the basis for the Pisgah National Forest in 1916, “the first
national forest established in any eastern state from lands acquired under the Weeks
Act.” The Forest History Society, The Weeks Act: Protection and Restoration, available
at http://www.foresthistory.org/ASPNET/Policy/WeeksAct/Implementation.aspx (last
acces-sed July 31, 2014) (see Appendix); Shands at 9. In 1898, Dr. George Ambler
                                            39

     Case 2:13-cr-00015-MR-DLH       Document 112      Filed 08/01/14     Page 39 of 80
Vanderbilt, as secretary, and John Muir, founder of the Sierra Club, as an

ex-officio member. Steen at 8. The National Forest Commission issued a

draft of its first report later that year to Secretary of the Interior David

Francis recommending 13 new forest reserves in the western United

States. Gerald W. Williams and Char Miller, “At the Creation: The National

Forest Commission of 1896-97,” Forest History Today, Spring/Fall, 2005, at

37 (herein “Williams & Miller”). Secretary Francis conveyed this information

to President Cleveland by letter dated February 6, 1897. Id. President

Cleveland thereafter adopted the recommendation and reserved 13 new

national forests, setting aside 21 million acres in western States with the

stroke of his pen. Id. The President made this proclamation on February

22, 1897, days before leaving office, and these forests were later known as

the “Washington’s Birthday Reserves.” Id.

      The outcry from federal legislators representing the western States

was swift and furious.          Congressional opponents of the new forests


established the Appalachian National Park Association in Asheville. Percy J. Paxton,
The National Forests and Purchase Units of Region Eight, unpublished manuscript at 3,
The         Forest         History       Society,         1955,         available       at
http://www.foresthistory.org/Research/documents/
Paxton_National_Forests_and%20Purchase_Units.pdf (last accessed July 31, 2014)
(herein “Paxton”) (see Appendix). The ANPA was instrumental in prompting Congress
to fund a forestry study and survey of 9,600,000 acres of southern Appalachian forest
land in 1900-01. Id. at 4. On January 16, 1901, U.S. Senator Jeter C. Pritchard of North
Carolina, an Asheville resident, introduced one of the first bills in Congress to provide
an appropriation for the Secretary of Agriculture to purchase “not less than 2,000,000
acres of mountain land” in six southern states as forest reserves. Id.
                                           40

   Case 2:13-cr-00015-MR-DLH        Document 112      Filed 08/01/14    Page 40 of 80
attached a rider, repealing the proclamation, to the appropriations bill

necessary to fund the government for the following year. As his last act in

office, President Cleveland vetoed that bill. Steen at 32.

     At the beginning of his presidency, William McKinley called a special

session of Congress specifically to appropriate money to keep the

government functioning since his predecessor vetoed Congress’ funding

measure. Id. Congress thus began work on a new spending bill. The third

significant piece of federal forestry legislation came into being as an

amendment to this bill. President McKinley, an advocate for forest

reserves, called upon Pinchot and others to “work[ ] the congressional

cloakrooms” in an effort to dissuade House and Senate members from

repealing the Washington’s Birthday Reserves proclamation. Id. at 34.

Pinchot was successful – the Sundry Appropriations Act of 1897, now

known for its important amendment as the “Forest Management Act,”

passed. To assuage the resentment of those Congressional members

representing the western States, a compromise was reached regarding the

original bill. The Washington’s Birthday Reserves proclamation would not

be repealed but only suspended for 9 months to provide for land surveys.

Further, the amendment’s last provision resulted in the “reserves being

established for timber and water supplies, settlers having rights-of-egress,


                                     41

  Case 2:13-cr-00015-MR-DLH    Document 112   Filed 08/01/14   Page 41 of 80
mature timber being marked and designated, appraised, and sold at

auction, and all water being used under State and Federal laws.” Steen at

34. The critical provision of this part of the amendment stated:

            No public forest reservation shall be established, except
      to improve and protect the forest within the reservation, or for
      the purpose of securing favorable conditions of water flows, and
      to furnish a continuous supply of timber for the use and
      necessities of citizens of the United States[.]

The Forest Management Act of June 4, 1897, 30 Stat. 11, 35. “This one

phrase established a system whereby new reserves could be created if

they met three criteria: to protect and improve the forests, provide

watershed protection, and insure timber production.” Williams & Miller at

39.

      Twenty years after passing the Forest Reserve Act, and ten years

after North Carolina passed its 1901 enactment consenting to the federal

government’s future acquisition of its lands to become a national forest,

Congress approved the first comprehensive national forest policy

legislation, the Weeks Forestry Act. Act of Mar. 1, 1911, ch. 186, §§ 4-14,

36 Stat. 961, 962-3 (1911) (codified as amended at 16 U.S.C. §§ 480, 500,

515 to 519, 521, 552, and 563). Using the Forest Reserve Act, the Forest

Management Act, and the NAS’s National Forest Commission as

templates, Congress fashioned the Weeks Act, establishing what was to


                                     42

  Case 2:13-cr-00015-MR-DLH    Document 112    Filed 08/01/14   Page 42 of 80
become the National Forest System. The Weeks Act created the National

Forest Reservation Commission and gave the NFRC the responsibility of

identifying and acquiring, with the Agriculture Secretary’s permission,

suitable land for national forests.        Further, the Weeks Act tasked the

Secretary of Agriculture with administering and regulating lands included

within the forest system so acquired by the NFRC.26 The Weeks Act, ch.

186, § 6, 36 Stat. at 962. In passing the Weeks Act, however, Congress

imposed a condition precedent upon the federal government’s supremacy

power to acquire lands from the States for national forests: the legislature

of the State in which the land lay must consent to its acquisition. The

Weeks Act, ch. 186, § 8, 36 Stat. at 962.

        Following Congress’ passage of the Weeks Act in 1911, the

Secretary of Agriculture, working through the NFRC, immediately began

locating properties in western North Carolina to acquire on behalf of the

United States as forest land, and then began acquiring such properties.

Chief U.S. Forester at that time, Henry S. Graves, issued his “General

26
   It is important to recognize, in a very broad sense, how the national forest system
framework operates with regard to the acquisition of public or private property for
forestry purposes. Congress has granted the President the power to proclaim national
forest boundaries and to reserve federal (public) lands within them pursuant to the
Forest Reserve Act and the Forest Management Act. Congress has granted the
Secretary of Agriculture (and until 1976 the NFRC) the power to acquire private land
located within Presidentially-proclaimed national forest boundaries pursuant to the
Weeks Act.


                                         43

     Case 2:13-cr-00015-MR-DLH    Document 112      Filed 08/01/14   Page 43 of 80
Information” on the purchase of land under the Weeks Act located in the

Southern Appalachian Mountains and Northern White Mountains on March

27, 1911.27 In 1912, the NFRC28 approved approximately 590,000 acres in

western North Carolina and northern Georgia for acquisition as the

Nantahala Purchase Unit.           Report of the National Forest Reservation

Commission for the Fiscal Year Ending June 30, 1912, at 2 (herein “1912

NFRC Report”). On January 29, 1920, President Wilson proclaimed the

creation of the Nantahala National Forest in parts of North Carolina, South

Carolina, and Georgia. Proclamation No. 66 of January 29, 1920, 41 Stat.

1785 (1920).      Sixteen years later, President Roosevelt established the

NNF’s general boundaries by proclamation on July 9, 1936. Proclamation

No. 2185, 50 Stat. 1742 (1936).                 In 1950, Congress confirmed the

boundary between the NNF and Great Smoky Mountain National Park as

set forth in President Roosevelt’s Proclamation No. 2185. Act of July 26,

1950 § (b), 64 Stat. 377, 378.

27
  Forester Graves’ “General Information” can be found at http://www.foresthistory.org/
ASPNET/Policy/WeeksAct/lands_1911.pdf (last visited July 31, 2014) (see Appendix).
28
  The NFRC was created in 1911 by the Weeks Act and was abolished in 1976 by the
National Forest Management Act of 1976, Pub.L. 94-588, § 17(a)(1), Oct. 22, 1976, 90
Stat. 2949, 2960 (“Section 4 [of the Weeks Act], as amended, is repealed, and all
functions of the National Forest Reservation Commission are transferred to the
Secretary of Agriculture.”). During its existence, the NFRC issued yearly reports of its
activities. Any such report cited in this Order will be referred to as “19XX NFRC Report”
where the variables “XX” shall represent the last two digits of the fiscal year ending
June 30th for the specific NFRC report discussed.
                                           44

     Case 2:13-cr-00015-MR-DLH      Document 112      Filed 08/01/14   Page 44 of 80
             1.     The Macon County Property at Issue in CR-15

        The Indictment in CR-15 alleges the site where the undersized bear

was taken in violation of law was located in Macon County, North Carolina,

on land within the NNF. [CR-15 Docs. 1; 82-1]. The Government has filed

in this case [CR-15 Docs. 83-1; 83-2; 83-3] the record documents from two

condemnation proceedings instituted in this Court by the Secretary of

Agriculture in 1915 and 1916 pursuant to his authority under the Weeks

Act.     The description of these actions as being in the nature of

condemnation proceedings is somewhat misleading. A careful reading of

each of the two Petitions discloses that the Secretary of Agriculture initially

identified the persons he believed to be the record land owners of the

property sought, and thereafter negotiated with them directly to arrive at a

sale price per acre for their land. However, due to the incomplete and

confusing land registry in Macon County at that time, the Secretary joined

as defendants any and all persons potentially holding a claim to the subject

property. [CR-15 Doc. 83-1 at 40-4; CR-15 Doc. 83-3 at 28-31]. As such,

these two actions more accurately represent proceedings to quiet title

rather than resemble traditional hostile condemnation proceedings.29


29
   “[C]onfusions over land boundaries were one facet of another complicating factor.
Many of the mountain people did not have clear title to their lands. Inheritance, previous
sale of a portion of the land, and inadequate local recordkeeping all contributed to this
                                           45

     Case 2:13-cr-00015-MR-DLH      Document 112      Filed 08/01/14    Page 45 of 80
        In paragraph 4 of each Petition, the Secretary particularly alleged that

the State of North Carolina, pursuant to chapter 17 of the 1901 North

Carolina Session Laws, consented to the acquisition by the government of

the lands described in the Petitions. [CR-15 Doc. 83-1 at 34; CR-15 Doc.

83-3 at 24]. All parties, therefore, were on express notice of the North

Carolina statute by which the federal government sought to obtain the

property, and thus the parties were on notice of the homestead exemption

contained therein. Critically, all of the Answers filed in each proceeding

admit these allegations in the Petitions. [CR-15 Doc. 83-1 at 57; 77; CR-15

Doc. 83-2 at 3; 14; 39; 41; 43; CR-15 Doc. 83-3 at 47; 49; 52]. No person,

in any Answer filed in either proceeding, asserted that any portion of the

property sought to be acquired by the federal government was exempt

under the homestead provision of chapter 17, section 2, of the 1901 North

Carolina Session Laws.30 In each proceeding, this Court ultimately entered

a final decree adjudging the United States to be the fee simple owner of the

property described therein. [CR-15 Doc. 83-2 at 47-9; CR-15 Doc. 83-3 at

problem. A landowner often wished to sell land with title defects. Since the Government
could not acquire the land unless the title could be cleared, this had to be done by
‘friendly’ condemnation.” Mastran & Lowerre at 58.
30
  While no North Carolina land owner raised as an affirmative defense, counter claim,
or otherwise, the homestead provision of chapter 17, section 2, of the 1901 North
Carolina Session Laws, one Answer did raise the statute of limitations in an
unsuccessful bid as an affirmative defense. [CR-15 Doc. 83-1 at 57].

                                          46

     Case 2:13-cr-00015-MR-DLH     Document 112     Filed 08/01/14    Page 46 of 80
100-02]. This property encompasses that portion of the NNF at issue in the

CR-15 case pertaining to the taking of the undersized bear. Defendants,

however, persist in their claims that the Court lacks subject matter

jurisdiction.

      At the hearing held by the Court on March 24, 2014, the defendants

produced an “Exchange Deed” [CR-15 Doc. 95-2] dated August 21, 1991,

evidencing the exchange and transfer of properties between the federal

government on the one hand, and Dabney Manning, Edwin Poss, and Mary

Poss, on the other hand. In particular, the Exchange Deed describes NNF

property conveyed by the federal government to these private persons in

return for the receipt of their lands in North Carolina’s Madison and

Jackson Counties. Defendants asserted during the hearing that the

undersized bear kill site was located on the property conveyed by the

United States pursuant to the Exchange Deed, and thus the alleged

offense occurred on private land. In response, the Government produced a

survey plat [CR-15 Doc. 95-4] and National Forest Service map [CR-15

Doc. 95-1] indicating that the undersized bear unlawfully taken was not

killed on any of the parcels referenced in the Exchange Deed and therefore

was within the NNF. Defendants reply, in their supplemental filings [CR-15

Docs. 92-1; 94], that the Government’s plat is inaccurate in that, except for


                                     47

   Case 2:13-cr-00015-MR-DLH   Document 112   Filed 08/01/14   Page 47 of 80
two calls, “[a]ll the other calls set forth on this [plat] that the Government

produced does [sic] not correspond to the meets and bounds description

set forth in the [Exchange D]eed.” [CR-15 Docs. 92-1 at 6; 94 at 6]. The

defendants’ argument in this regard fails for two independent reasons.

     First, the Government’s plat is, in fact, consistent with all of the calls

set forth in the Exchange Deed. The plat, which shows the United States’

conveyance of certain acreage out from forest service tracts N-510, S-31G-

5, and S-17, shows many individual “corners” and lists both the new and

old alphanumeric labels for each such “corner.” The defendants’ assertion

that the Government’s plat is inaccurate when compared with the calls

contained in the Exchange Deed is incorrect and stems from the

defendants confusing an old corner designation on the Government’s plat

with a new corner label in the Exchange Deed. For example, the Exchange

Deed, on page seven, refers in the last paragraph to “CORNER 2C, a new

corner (designated as corner 8e of USA tract N-510)[.]” [CR-15 Doc. 95-2

at 7]. When one carefully compares this call to the plat, one can see that

the corner now labeled as “2C” is also the same corner formerly designated

as “8e.” Following the calls from the Exchange Deed by tracing the newly

labeled corners as set forth on the survey plat leads one correctly around

the external boundary of the property so conveyed according to the metes


                                     48

  Case 2:13-cr-00015-MR-DLH    Document 112    Filed 08/01/14   Page 48 of 80
and bounds descriptions. Therefore, the Government’s plat is consistent

with all of the calls set forth in the Exchange Deed.

      Second, and more importantly, the defendants’ argument on this

point is not a jurisdictional argument at all. In asserting that the bear was

killed on private property, they are arguing that the Government will be

unable to meet its burden of proof at trial as to one element of the crimes

charged. The crimes charged, for which the grand jury found probable

cause, involved the bear being killed on NNF property.            Whether the

Government can prove its case beyond a reasonable doubt is another

matter altogether. The Government shoulders the ultimate burden of

proving beyond a reasonable doubt that the geographical location of the kill

site was within the NNF. If the Government prevails in its proof, it will have

shown that the undersized bear was taken on federal forest land under the

concurrent jurisdiction of the United States and North Carolina. If the

Government fails in proving this element, the defendants are entitled to be

acquitted. The geographical location of the kill site, therefore, has no

bearing on the Court’s subject matter jurisdiction.

      Finally, the Court turns to the issue of the federal government’s

authority to legislate regarding activity taking place on Macon County NNF

lands. Though the federal government may become seized in fee simple of


                                      49

  Case 2:13-cr-00015-MR-DLH     Document 112    Filed 08/01/14   Page 49 of 80
real property it acquires which is situated within North Carolina, its status

as record title holder does little to define its power over such land due to

the comity issues inherent in federalism. North Carolina retained concurrent

jurisdiction over the lands within its borders when it ceded to the federal

government jurisdiction over the Macon County lands later to become the

NNF in accordance with North Carolina’s 1901 enabling legislation.

Because the federal government purchased the Macon County property

that was to become NNF lands from the citizens of North Carolina, the

power of the federal government over these NNF lands is determined by

N.C. Gen. Stat. § 104-5. Since the federal government purchased this land

from private property holders, taken together with the State’s affirmative

cession of some of its legislative authority (as opposed to the federal

government acquiring land from a foreign nation by conquest or treaty31),

the Enclave Clause establishes the extent of the federal government’s

jurisdiction in accord with the State’s law.

        As for the federal government’s jurisdiction over the NNF lands at

issue in Macon County and acquired pursuant to N.C. Gen. Stat. § 104-5,

the federal government enjoys concurrent jurisdiction with North Carolina

31
   The Property Clause of the Constitution generally addresses Congress’ jurisdiction
over lands the government acquires in the first instance. U.S. Const. art. IV, § 3, cl 2
(“Congress shall have Power to dispose of and make all needful Rules and Regulations
respecting the Territory or other Property belonging to the United States. ...”).
                                          50

     Case 2:13-cr-00015-MR-DLH     Document 112      Filed 08/01/14   Page 50 of 80
consistent with the Supreme Court’s interpretation of the Enclave Clause.

It is irrelevant whether the federal government’s acquisition of these lands

occurred before or after February 1, 1940, for the purpose of determining

whether the federal government accepted jurisdiction.              The federal

government’s acceptance of jurisdiction with the jurisdictional limitations as

set out in North Carolina’s 1901 Act was either implicit or explicit. As for

the Macon County property the federal government acquired before

February 1, 1940, the federal government was deemed to have implicitly

accepted such jurisdiction and jurisdictional limitations as offered by a State

in conjunction with its residents’ conveyance of property. Lowe, 114 U.S.

at 528. As for the NNF property acquired federally after that date, the

Secretary of Agriculture complied with 40 U.S.C. § 3112(b) by mailing a

letter to then-Governor of North Carolina, Michael Easley, dated December

30, 2008, accepting concurrent jurisdiction over all land acquired in North

Carolina for national forest purposes. [CR-15 Doc. 82-5]. Either way, both

the United States and North Carolina enjoy concurrent jurisdiction over

NNF lands so acquired in Macon County, North Carolina, at issue herein.

      D.    The Tennessee Valley Authority

      Gifford Pinchot’s contribution to the development, use, and

management of the nation’s resources was not limited to the single


                                      51

  Case 2:13-cr-00015-MR-DLH     Document 112    Filed 08/01/14   Page 51 of 80
dimension of forestry stewardship.          He viewed timber production,

commerce by inland waterways, and power generation, along with erosion

control, flood abatement, and anti-sedimentation measures, not as isolated

issues but as separate parts of a large puzzle whose correct assembly lay

in understanding the interconnectedness of the pieces. Gifford’s prescience

about these matters would portend the creation of the Tennessee Valley

Authority.

      When private power interests were trying to take over the
      federally owned hydroelectric plant in Muscle Shoals, Alabama,
      President Roosevelt stepped in and saved it for public use.
      Later his administration undertook a major effort to prevent
      erosion and to develop transportation on regional waterways
      with the help of government-planned engineering projects. All of
      it was based on a new idea: that the only way to approach any
      water issue—whether flood control, hydroelectric power,
      erosion, or the preservation of fish and game—was to look at a
      river system as a whole, from the sources to the mouth.

      If that sounds like TVA, well, it’s no coincidence. But this
      President Roosevelt was a Republican, and his name wasn’t
      Franklin but Theodore. Teddy Roosevelt proposed these
      projects almost 100 years ago, largely because of the influence
      of his visionary chief forester, Gifford Pinchot. If Pinchot wasn’t
      the godfather of TVA (most historians would give that honor to
      George Norris), he’d have to be considered something like its
      prophet.

The Tennessee Valley Authority, “A Complicated Unity,” available at Error!

Hyperlink reference not valid. (last accessed July 31, 2014) (see Appendix).




                                      52

  Case 2:13-cr-00015-MR-DLH    Document 112     Filed 08/01/14   Page 52 of 80
        Approximately      twenty-five     years     after    President      Theodore

Roosevelt’s term expired, President Franklin D. Roosevelt set about to

launch a great experiment in America’s Tennessee Valley. In the midst of a

national depression with few jobs but abundant labor, and recognizing the

plight of southern Appalachian farmers working land stripped of nutrients,

President Franklin        Roosevelt      proposed the creation          of a quasi-

governmental corporation or “Authority” with a name taken from the place it

sought to aid.

        Roosevelt envisioned TVA as a totally different kind of agency.
        He asked Congress to create a corporation clothed with the
        power of government but possessed of the flexibility and
        initiative of a private enterprise. On May 18, 1933, Congress
        passed the TVA Act.32

The Tennessee Valley Authority, “From the New Deal to a New Century,”

available at http://www.tva.com/abouttva/history.htm (last accessed July

31, 2014) (internal quotations omitted) (see Appendix). “[I]n the interest of

the national defense and for agricultural and industrial development, and to

improve navigation in the Tennessee River and to control the destructive

flood water in the Tennessee River and Mississippi River Basins,”

Congress created, and the President signed, legislation establishing “a



32
   The Tennessee Valley Authority Act of 1933, 48 Stat. 58, codified at, 16 U.S.C. § 831,
et seq.
                                           53

     Case 2:13-cr-00015-MR-DLH      Document 112      Filed 08/01/14   Page 53 of 80
body corporate by the name of the ‘Tennessee Valley Authority[.]’ ” 16

U.S.C. § 831.

     From the start, TVA established a unique problem-solving
     approach to fulfilling its mission: integrated resource
     management. Each issue TVA faced — whether it was power
     production, navigation, flood control, malaria prevention,
     reforestation, or erosion control — was studied in its broadest
     context. TVA weighed each issue in relation to the whole
     picture.

The Tennessee Valley Authority, “From the New Deal to a New Century,”

available at http://www.tva.com/abouttva/history.htm (last accessed July

14, 2014) (internal quotations omitted) (see Appendix).        The “especial”

purpose of the TVA was to bring about:

     (1) the maximum amount of flood control; (2) the maximum
     development of said Tennessee River for navigation purposes;
     (3) the maximum generation of electric power consistent with
     flood control and navigation; (4) the proper use of marginal
     lands; (5) the proper method of reforestation of all lands in said
     drainage basin suitable for reforestation; and (6) the economic
     and social well-being of the people living in said river basin.

16 U.S.C. § 831v.     To fulfill its charter, the TVA was granted broad

“necessary and appropriate” powers. 16 U.S.C. § 831c(g). These powers

enabled the TVA to acquire property in the name of the United States from

States’ residents, including the power of eminent domain, to build dams,

create reservoirs, and construct power houses among other things. 16

U.S.C. § 831c(h).   As time went on, such powers were also granted the


                                    54

  Case 2:13-cr-00015-MR-DLH   Document 112    Filed 08/01/14   Page 54 of 80
TVA to convey all or any lesser interest in real property by deed, lease, or

otherwise, as well as to transfer the possession and control over any such

real property to other persons or entities. 16 U.S.C. § 831c(k).

             1.     The Graham County Property at Issue in CR-16

        The Indictment in CR-16 alleges the sites where black bear and white

tail deer were taken in violation of law were located in Graham County,

North Carolina, on land within the NNF. [CR-16 Doc. 1]. The Government

has filed in this case [CR-16 Docs. 91-1; 91-2] Forest Service maps

depicting the areas within the NNF where the defendants are alleged to

have taken wildlife unlawfully.         In their written memoranda, and at the

hearing held by the Court on May 29, 2014, the defendants argued that the

alleged wildlife kill sites in Graham County occurred on three different

parcels of land within the NNF and known as: (1) tract “N-1073e,” (2) tract

“TVA-1,” and (3) the TVA land between the 1710-foot contour and the low

water mark of the TVA Fontana Lake Reservoir (herein the “Shoreline

Strip”).33   The Court will discuss the federal government’s jurisdictional

authority over each of these three parcels in turn.


33
   These three parcels are, in essence, lands surrounding Lake Fontana and can be
roughly defined by their elevations. Beginning with the lowest parcel, the Shoreline
Strip, that parcel is the land between the low-water mark of the lake and the 1710’
contour (usually the high-water mark). Tract TVA-1 is the land between the 1710’
contour and the lower boundary of tract N-1073e, which ranges from the 1723’ contour
in places to above the 2000’ contour in other places. Tract N-1073e is, for the most part,
                                           55

     Case 2:13-cr-00015-MR-DLH      Document 112      Filed 08/01/14    Page 55 of 80
                    (a)    Tract N-1073e

      The defendants contend that tract N-1073e, while located entirely

within the external boundaries of the NNF, is not property the federal

government acquired pursuant to the Weeks Act, and therefore has no

legislative authority over it. They alleged in their initial written filings that

the Government provided no documentation to them showing that the

NFRC passed upon the federal government’s purchase of tract N-1073e for

inclusion within the NNF.          Following the defendants’ initial filings, the

Government obtained, and disclosed to the defendants, additional land

records concerning this tract.         [CR-16 Docs. 115; 116]. These records

disclose the following information.             On May 13, 1947, Whiting

Manufacturing Company executed a Land Purchase Option and Contract in

favor of the USDA’s Forest Service, on behalf of the United States, offering

to sell some 28,117 acres in Graham, Swain, and Cherokee Counties,

North Carolina to the federal government. [CR-16 Doc. 116-1 at 2]. This

offer was conditioned upon the NFRC’s approval of the property for forest

land. [Id.] The NFRC approved the purchase of this property on May 20,

1947, and directed that surveys of the same be made. [Id. at 6]. Following

the Forest Service’s surveys, Whiting Manufacturing Company conveyed in


that land above the elevation of tract TVA-1.
                                           56

   Case 2:13-cr-00015-MR-DLH        Document 112   Filed 08/01/14   Page 56 of 80
fee by deed to the United States the 24,680 acres of property it owned in

Graham County, North Carolina, on December 17, 1948. [CR-16 Doc. 115-

1]. This conveyance included tract N-1073e. [Id. at 22-26]. Finally, NFRC

Reports for years 1948 and 1949 reflect that this property was approved for

purchase by the NFRC, was purchased in 1948, and appeared on the 1949

NFRC Report as additional acreage that was purchased in Graham

County, North Carolina, beyond the acreage listed in the 1948 NFRC

Report. The defendants’ argument that tract N-1073e was not acquired

pursuant to the Weeks Act thus fails.

         Given that the federal government’s purchase of tract N-1073e

complied with the Weeks Act, the legal analysis concerning the federal

government’s legislative authority of tract N-1073e mirrors that of the

Macon County property at issue in case CR-15, discussed above in Part

I.C.1.    Because the federal government purchased tract N-1073e from

Whiting Manufacturing Company, N.C. Gen. Stat. § 104-5 determined the

power the federal government received over this parcel as NNF land.

Section 104-5 in conjunction with the Enclave Clause, permits the federal

government to exercise concurrent jurisdiction with North Carolina over this

land provided the federal government accepts such authority. Since tract

N-1073e was purchased after February 1, 1940, explicit acceptance of


                                        57

  Case 2:13-cr-00015-MR-DLH   Document 112    Filed 08/01/14   Page 57 of 80
jurisdiction is required. The federal government did so when the Secretary

of Agriculture complied with 40 U.S.C. § 3112(b) by mailing a letter to then-

Governor of North Carolina, Michael Easley, dated December 30, 2008,

accepting concurrent jurisdiction over all land acquired in North Carolina for

national forest purposes. [CR-15 Doc. 82-5]. This Court, therefore, has

subject matter jurisdiction over the offenses alleged by the Government

against the defendants occurring on tract N-1073e.

                  (b)   Tract TVA-1.

      The facts concerning Tract TVA-1 are more complex. This tract was

originally purchased by the federal government in December 1942 to be

included within the lands of the TVA. It was part of numerous properties in

Graham and Swain Counties that were purchased from the Aluminum

Company of America and its subsidiaries Carolina Aluminum Company and

Nantahala Power and Light Company (herein collectively “ALCOA”). [CR-

16 Doc. 105-4]. In September 1946, the TVA Board of Directors authorized

the transfer of 5,803 acres of this property to the management of the

USDA’s Forest Service (which included lands forming tract TVA-1) for

inclusion into the NNF. [CR-16 Doc. 105-5 at 2]. The TVA’s transfer of its

authority over land including the TVA-1 tract to the USDA was

consummated by a written Agreement of Transfer dated February 24,


                                       58

  Case 2:13-cr-00015-MR-DLH    Document 112    Filed 08/01/14   Page 58 of 80
1947. [CR-16 Doc. 80]. As required by 16 U.S.C. § 831c(k)(c), President

Truman approved this transfer.34 [CR-16 Doc. 80 at 5].

         In analyzing what jurisdiction and authority the federal government

has over tract TVA-1, it must first be determined whether TVA’s transfer to

the Forest Service was, in fact, an “acquisition by the United States by

purchase or by condemnation . . . for the establishment of . . . a national

forest reserve.” N.C. Gen. Stat. § 104-5. If it was, then N.C. Gen. Stat. §

104-5 governs the federal government’s authority. If not, then N.C. Gen.

Stat. § 104-7 governs based on the 1942 acquisition by the TVA on behalf

of the United States.

         The documentary record makes the answer quite clear. The United

States neither purchased nor condemned tract TVA-1 in 1947. It simply

effectuated a transfer of authority over the property from one governmental

unit to another. There is only one deed to the United States of America:

the deed from ALCOA to the United States in December 1942. Hence, N.C.

Gen. Stat. § 104-5 is inapplicable and the jurisdictional analysis is

governed by N.C. Gen. Stat. § 104-7.

         Before addressing how § 104-7 applies, the defendants argue that

the land transfer between the TVA and the Forest Service was invalid


34
     See, infra, footnote 35.
                                      59

     Case 2:13-cr-00015-MR-DLH   Document 112   Filed 08/01/14   Page 59 of 80
because the federal government did not advertise the transfer properly or

comply with other requirements. Defendants cite to 16 U.S.C. § 516, 43

U.S.C. § 1716, and 36 C.F.R. parts 254.1 and 254.2 in support of their

argument.      All of these laws, however, apply only when the federal

government exchanges property with another land owner, not when the

government internally transfers supervisory authority over property from

one department to another. The undisputed record in this case shows that

the TVA made a valid transfer of authority over tract TVA-1 to the Forest

Service.35 The defendants’ arguments in this regard, therefore, are without

merit.



35
   16 U.S.C. § 831c(k) states, in the two relevant subparagraphs, that the TVA shall
have power in the name of the United States: “(a) to convey by deed, lease, or
otherwise, any real property in the possession of or under the control of the Corporation
to any person or persons, for the purpose of recreation or use as a summer residence,
or for the operation on such premises of pleasure resorts for boating, fishing, bathing, or
any similar purpose” … (c) And provided further, That no transfer authorized herein in
(a) or (c) … shall be made without the approval of the President of the United States, if
the property to be conveyed exceeds $500 in value[.]” Neither the Board’s minutes
regarding that authorization, nor the Agreement of Transfer, cited the specific
subsection of 16 U.S.C. § 831c(k) upon which the transfer was premised. [Id.].
Correspondence between counsel for the TVA and the USDA established that the
authorization for the transfer was made pursuant to subparagraph (a) of 16 U.S.C. §
831c(k), citing the property’s future use for purposes of “recreation.” [CR-16 Docs. 105-
6, 105-7, and 105-8]. The TVA, prior to its intended land transfer to the USDA,
previously had invoked § 831c(k)(a) when transferring 44,400 acres to the Department
of the Interior for use in the Great Smoky Mountain National Park. [CR-16 Doc. 105-8 at
2]. The mechanism for the land transfer between the TVA and the Department of the
Interior – 16 U.S.C. § 831c(k)(a) – was approved by the then-acting Solicitor General.
[CR-16 Doc. 105-8]. The TVA used this precedent as a basis for making its transfer of
tract TVA-1 to the Forest Service.


                                            60

     Case 2:13-cr-00015-MR-DLH      Document 112       Filed 08/01/14    Page 60 of 80
     The defendants also argue that since North Carolina did not consent

to the TVA transferring its lands to the USDA, such transfer is invalid.

Defendants, however, cite no authority for the proposition that the federal

government, as fee simple owner of lands situated within a State, must

obtain that State’s permission in order to transfer administrative authority

over such lands from one federal department to another.

     Since the federal government affected a lawful transfer of

authoritative control over tract TVA-1 between departments, the Court turns

to the legal analysis concerning the federal government’s legislative

authority over tract TVA-1. At the time the TVA purchased the lands which

constitute tract TVA-1, N.C. Gen. Stat. § 104-7 granted the federal

government the authority to acquire by purchase, pursuant to the Enclave

Clause, “any land in the State required for customhouses, courthouses,

post offices, arsenals, or other public buildings whatever, or for any other

purposes of the government.”        Id., emphasis added.       Clearly, TVA’s

acquisition of tract TVA-1 for flood control, power generation, and

reforestation, met the requirements of land to be used “for any other

purposes of the government.” Use as Forest Service land is likewise a

proper governmental purpose.




                                    61

  Case 2:13-cr-00015-MR-DLH    Document 112   Filed 08/01/14   Page 61 of 80
      Defendants argue that, even if § 104-7 permitted the TVA to acquire

tract TVA-1, the grant of jurisdiction over that tract was never effectuated

pursuant to that section. Since tract TVA-1 was acquired by the federal

government in 1942, the grant of jurisdiction from the state must be

expressly accepted by the federal government for it to be effective. 40

U.S.C. § 3112(b). The federal government did not expressly accept such

jurisdiction with regard to TVA-1 until December 30, 2008, when the

Secretary of Agriculture wrote to the Governor of North Carolina:

           This letter constitutes the United States’ acceptance
           of concurrent legislative jurisdiction over all land
           acquired in North Carolina for national forest
           purposes, including land acquired in the future. To
           avoid future jurisdictional disputes as to particular
           land or factual situations, this acceptance should
           be read to encompass all national forest lands
           in North Carolina, at whatever time they may
           have been acquired (before or after February 1,
           1940) or may in the future be acquired.

[Doc. 82-5 (emphasis added)].

      The version of N.C. Gen. Stat. § 104-7 in effect in 1942 read as

follows:

           The consent of the State is hereby given, in
           accordance with the [Enclave Clause], to the
           acquisition by the United States, by purchase,
           condemnation, or otherwise, of any land in the State
           required for the sites for customhouses,
           courthouses, post offices, arsenals, or other public


                                     62

  Case 2:13-cr-00015-MR-DLH     Document 112   Filed 08/01/14   Page 62 of 80
            buildings whatever, or for any other purposes of
            the government.

            Exclusive jurisdiction in and over any land so
            acquired by the United States shall be and the
            same is hereby ceded to the United States for all
            purposes except the service upon such sites of all
            civil and criminal process of the courts of this
            State[.]

N.C. Gen. Stat. § 104-7 (2002) (emphasis added). In 2005, however, N.C.

Gen. Stat. § 104-7 was amended to eliminate the authorization for

acquisition and transfer of jurisdiction for “any other purposes of the

government.” Since this occurred before the federal government accepted

jurisdiction over TVA-1, the defendants argue that the 2008 acceptance

was ineffective and the federal government therefore has no authority over

tract TVA-1.

      The defendants’ argument is belied by the language of both the old

and new versions of N.C. Gen. Stat. § 104-7. The original version of § 104-

7 stated that “consent of the State is hereby given . . . to the acquisition . . .

of any land,” and that “[e]xclusive jurisdiction in and over any land so

acquired . . . is hereby ceded to the United States . . . .” (Emphasis

added). The 2005 version reads very similarly. Particularly with regard to

the grant of jurisdiction, it reads: “Exclusive jurisdiction in and over any land

acquired by the United States . . . under subsection (a) of this section is


                                       63

  Case 2:13-cr-00015-MR-DLH      Document 112    Filed 08/01/14   Page 63 of 80
hereby ceded . . . .” Id. In other words, both the old and new versions of

the statute set forth two distinct grants of authority: a grant to acquire land,

and a grant of jurisdiction over land so acquired.36 The operative date for

both grants is the date of the land acquisition.                  In 1942, the federal

government was authorized to acquire tract TVA-1 and the State of North

Carolina extended a grant of jurisdiction over that parcel as well. That

grant of jurisdiction – as tendered in 1942 – was never revoked and was

formally accepted in 2008.           The new version of § 104-7, by its terms,

applies only to lands acquired by the federal government after 2005, and

thus is irrelevant to this analysis. The defendants have not, and cannot,

point to any language in the 2005 version of the statute that states or

implies that the adoption of these later amendments worked a withdrawal of

the State’s grant of jurisdiction from the statute as it existed in 1942.

        As discussed above at footnote 26, the Weeks Act is not the only

means by which real property may become part of the National Forest

System. The other method is by presidential proclamation. Whether the

land is public or private land at the time of its inclusion in the National

36
  It is in this way – by providing two distinct grants of authority – that the North Carolina
General Assembly drafted the original version of § 104-7 in a manner quite consistent
with the original version of § 104-5. In the original version of what was to become § 104-
5, North Carolina granted the federal government the right to acquire North Carolina
property in Section 1, and in Section 2 it granted Congress the authority to “pass such
laws as it may deem necessary to the acquisition” of such property. 1901 N.C. Sess.
Laws, ch. 17.
                                             64

     Case 2:13-cr-00015-MR-DLH       Document 112       Filed 08/01/14    Page 64 of 80
Forest System determines the procedure. If the land is private, the Weeks

Act grants the Secretary of Agriculture (and until 1976 the NFRC) the

power to acquire land held by private parties.     If, however, the land is

already in public hands, Congress grants the President the power to

reserve and set aside federal lands for forest purposes pursuant to the

Forest Reserve Act and the Forest Management Act.

     The TVA purchased tract TVA-1 in accordance with N.C. Gen. Stat. §

104-7 in 1942 and the United States became the fee simple owner of the

property at that time.   In 1947, the TVA transferred authority and control

over tract TVA-1 to the Department of Agriculture as forest land and, in

approving the transfer, President Truman also proclaimed that this public

land “be allocated to and included in and reserved as a part of the

Nantahala National Forest” pursuant to the Forest Reserve Act and the

Forest Management Act.        [CR-16 Doc. 80 at 5].            The President’s

proclamation transformed the use to be made of the land: it was originally

acquired “for any other purposes of the government” under § 104-7, but

was then set aside as lands needed for the establishment of a national

forest reserve. Tract TVA-1, having been so reserved by the President in

1947, became subject to the legislative authority of both the federal

government and the State of North Carolina upon the filing of the Secretary


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  Case 2:13-cr-00015-MR-DLH    Document 112   Filed 08/01/14    Page 65 of 80
of Agriculture’s general acceptance letter with the North Carolina

Governor’s office in 2008. Upon the filing of that letter, the federal

government became fully vested with concurrent jurisdiction over tract

TVA-1.      This Court, therefore, has subject-matter jurisdiction over the

offenses alleged by the Government occurring on tract TVA-1.

                    (c)   The Shoreline Strip

        The federal property below the 1710-foot contour and above the low

water mark of Fontana Lake – the Shoreline Strip – is still controlled,

managed, and administered by the TVA. The Shoreline Strip resides well

within the external boundary of the NNF.37         The defendants contend, as to

any illegal taking of wildlife occurring within the boundary of the NNF but on

the Shoreline Strip administered by the TVA, that the United States has no

jurisdiction to enforce Forest Service hunting regulations. The Fourth

Circuit, in United States v. Stephenson, 29 F.3d 162 (4th Cir. 1994),

rejected a similar claim regarding the hunting of wildlife on TVA lands but

within the external boundary of the Great Smoky Mountains National Park


37
  Because the NNF’s external boundary was established before the TVA dammed the
Tuckasegee and Little Tennessee Rivers, its precise location is currently off-shore and
underwater. The northern boundary between the NNF and the Great Smoky Mountains
National Park originally followed the “meanders of the left bank of Tuckasegee River”
before that area was flooded. United States v. Stephenson, 29 F.3d 162, 164 (4th Cir.
1994). Thus, the NNF boundary lies beyond the Shoreline Strip within the waters of
Fontana Lake.


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     Case 2:13-cr-00015-MR-DLH     Document 112     Filed 08/01/14    Page 66 of 80
(i.e., on the opposite shore of the lake). Stephenson, 29 F.3d at 165. For

the reasons that follow, the history surrounding the acquisition of the TVA

property together with the rationale underlying the Stephenson decision

prevent the Court from accepting the defendants’ argument. 38

        As explained in the preceding section regarding tract TVA-1, lands

encompassing the Shoreline Strip were originally purchased by the federal

government for the benefit of the TVA consistent with the TVA Act.

Because they were purchased in the name of the United States “for any [ ]

purposes of the government[,]” these lands were acquired in accordance

with N.C. Gen. Stat. § 104-7. When the TVA later transferred tract TVA-1

to the management of the USDA’s Forest Service in 1947, it omitted from

such transfer the land described herein as the Shoreline Strip, presumably

because that strip is occasionally under the water of a TVA reservoir. [CR-

16 Doc. 105-5 at 2]. Defendants, therefore, argue that the State of North

Carolina never granted concurrent or exclusive jurisdiction to the United

States for property acquired by the TVA and lying in the “no man’s land” of

the Shoreline Strip. The analysis on this issue is almost identical to that

38
   The defendants’ argument that the Court is without jurisdiction to preside over the
charges they face stemming from their alleged activities occurring on the Shoreline Strip
would produce an anomalous result. If the defendants’ argument were correct, then a
violation of State wildlife law on the south shore of Fontana Lake between the 1710’
contour and the low-water mark would not be a violation of federal law while the same
State wildlife law violation on the same strip of land on the north shore of Fontana Lake
is a federal violation according to Stephenson. Surely this is not the law.
                                           67

     Case 2:13-cr-00015-MR-DLH      Document 112      Filed 08/01/14   Page 67 of 80
pertaining to tract TVA-1, supra, except that the acceptance of jurisdiction

was effectuated before the 2005 amendments to N.C. Gen. Stat. § 104-7.

     In 1942, the federal government was authorized by the State of North

Carolina to acquire the lands that make up the Shoreline Strip, and the

State extended a grant of jurisdiction to the federal government over that

parcel; the actions of both sovereigns in this regard were fully consistent

with N.C. Gen. Stat. § 104-7. The State’s grant of jurisdiction, as tendered

in 1942, was never revoked by the State and was formally accepted by the

federal government in 2001. On December 31, 2001, the United States,

acting by and through the TVA, and the State of North Carolina, acting by

and through its Governor, entered into a “Memorandum of Agreement for

Concurrent Jurisdiction at Tennessee Valley Authority Units within the

State of North Carolina.” [CR-16 Doc. 105-11]. That agreement specifically

states its purpose is for the federal and state governments to “develop a

uniform system of concurrent jurisdiction for all areas of the TVA within the

State of North Carolina.” [Id. at 1]. Among the recitals of that agreement,

the parties note that the State “has ceded to the United States jurisdiction

of TVA lands held in the name of the United States Government and/or

TVA subject to the conditions set forth in” § 104-7.              [Id.].   This

Memorandum was a mechanism whereby the State of North Carolina and


                                     68

  Case 2:13-cr-00015-MR-DLH    Document 112   Filed 08/01/14   Page 68 of 80
the federal government agreed that the two governments would have

concurrent jurisdiction over all TVA real property (i.e., all “units” and all

“lands”) in North Carolina. [Id. at 2]. That goal was accomplished by the

State’s granting concurrent jurisdiction over such “units” and by the federal

government’s retroceding its “exclusive jurisdiction” (originally ceded by the

State pursuant to § 104-7) over such “lands” so that both sovereigns

enjoyed concurrent jurisdiction over all TVA property. Finally, the federal

government manifested its affirmative intention to accept jurisdiction

consistent with federal law. The Memorandum, signed by then-Governor of

North Carolina Michael Easley, explicitly complied with 40 U.S.C. § 255

(now 40 U.S.C. § 3112(b)) by affirmatively stating that the United States

accepted North Carolina’s cession of jurisdiction over the TVA land which

included the Shoreline Strip. [CR-16 Doc. 105-11 at 2]. Hence, the TVA

can exercise concurrent jurisdiction with the State of North Carolina over all

TVA property situated in that State.

      The defendants argue further, however, that the TVA’s jurisdiction

over the Shoreline Strip says nothing at all about whether the Forest

Service can exercise jurisdiction over the same land. But this argument

ignores the provisions of the Agreement to Transfer executed between the

TVA and the USDA’s Forest Service. As explained in the preceding section


                                       69

  Case 2:13-cr-00015-MR-DLH    Document 112    Filed 08/01/14   Page 69 of 80
regarding tract TVA-1, the TVA’s transfer of its authority over land including

the TVA-1 tract to the Forest Service was consummated by the Agreement

of Transfer dated February 24, 1947. [CR-16 Doc. 80]. When the TVA

transferred its authority over tract TVA-1 to the Forest Service, it also

granted the Forest Service certain powers with regard to the Shoreline

Strip. In particular, the TVA granted the Forest Service the right to access

and to use the land lying between tract TVA-1 “and the low-water mark on

Fontana Lake” for construction and maintenance purposes and for

“performing all other acts which may be reasonably necessary to the

administration and use, as part of the Nantahala National Forest as herein

provided, of the lands described in [tract TVA-1].”     [Id. at 2]. While not

transferring its authority over the Shoreline Strip to the Forest Service, the

TVA clearly granted the Forest Service broad supplemental authority to

access the Shoreline Strip for all reasonable purposes necessary to

administer and to use tract TVA-1. Enforcing game laws and regulations

on the Shoreline Strip to protect wildlife inhabiting tracts N-1073e and TVA-

1 clearly falls within the powers granted to the Forest Service by the TVA

under this provision of the Agreement of Transfer. This conclusion is

unremarkable.    When addressing the jurisdiction of the National Park




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  Case 2:13-cr-00015-MR-DLH    Document 112    Filed 08/01/14   Page 70 of 80
Service under similar circumstances, the court of appeals in Stephenson

stated:

      NPS jurisdiction over the northern shore of Fontana Lake is
      necessary to protect Park animals that must pass through
      portions of the Park in TVA's custody that lie below the 1710-
      foot contour line in order to reach the lake water. Were we to
      hold that NPS cannot enforce Park laws on the north shore of
      Fontana Lake, hunters could easily circumvent the protections
      for Park wildlife by waiting for Park animals to approach the
      lake waters before shooting them. This would frustrate the
      purpose for which the national park system was established.

Id., 29 F.3d at 165. The Forest Service possesses broad supplemental

authority over the Shoreline Strip to enforce game laws and regulations

consistent with its authority over forest lands contained within the external

boundary of the NNF. The Court concludes, therefore, that the TVA enjoys

concurrent jurisdiction over the Shoreline Strip, and the Forest Service

enjoys like jurisdiction over the Shoreline Strip to the extent required for all

reasonable purposes necessary to administer and use tract TVA-1, which

includes enforcing game laws and regulations on the Shoreline Strip to

protect wildlife inhabiting tracts N-1073e and TVA-1. As a result, this Court

has subject-matter     jurisdiction over    the offenses alleged by the

Government against the defendants occurring on the federal property lying

below the 1710-foot contour and above the low water mark of Fontana

Lake controlled, managed, and administered by the TVA.


                                      71

  Case 2:13-cr-00015-MR-DLH     Document 112    Filed 08/01/14   Page 71 of 80
      E.    The Regulation and Statute Alleged to Provide Jurisdiction

      The final issue confronting the Court is whether the alleged unlawful

acts of the defendants fall within the purview of the jurisdictional regulation

and statute cited in both Indictments, to wit, 36 C.F.R Part 261.8(a) and 18

U.S.C. § 13.    Beginning first with the federal regulation, Part 261.8(a)

prohibits, in pertinent part, any hunting in violation of State law which

“occurs in the National Forest System or on a National Forest System road

or trail.” 36 C.F.R Part 261.1(a)(1).      The “National Forest System” is

defined by 36 C.F.R Part 261.2 as “all national forest lands and waters

reserved or withdrawn from the public domain of the United States, [and]

national forest lands and waters acquired through purchase, exchange,

donation, or other means[.]” Accordingly, 36 C.F.R Part 261.8(a) provides

the Court jurisdiction to preside over the unlawful acts alleged to have

occurred on the Macon County property at issue in CR-15 as well as the

unlawful acts alleged to have occurred on the N-1073e tract at issue in CR-

16 since these two properties were acquired through purchase by the

United States. A forceful, if not decisive, argument can be made that tract

TVA-1 at issue in CR-16 would fall under the National Forest System

definition of Part 261.2 since that tract was “reserved or withdrawn from the

public domain.” However, the reservation of tract TVA-1 as forested land


                                      72

  Case 2:13-cr-00015-MR-DLH     Document 112   Filed 08/01/14   Page 72 of 80
came about after the federal government’s purchase of that property for

TVA-related purposes, not Forest Service purposes. But, the reservation of

that land was also preceded by a transfer of authority and control granted

by the TVA to the Forest Service. Any uncertainty about whether the Court

has jurisdiction to preside over the unlawful acts alleged to have occurred

on tract TVA-1 evaporates, upon closer inspection of the regulations,

because 36 C.F.R Part 261.1(a)(2) gives the Court authority to hear any

hunting case alleged to violate State law that “affects, threatens, or

endangers property of the United States administered by the Forest

Service.” Id. The Court, therefore, may properly exercise its jurisdiction to

hear the allegations that defendants committed unlawful acts on the Macon

County property at issue in CR-15 as well as on the Graham County tracts

N-1073e and TVA-1 at issue in CR-16.

     The Court’s authority to preside over a trial alleging unlawful acts

occurring on the Shoreline Strip at issue in CR-16 cannot be sustained

under 36 C.F.R Part 261.8(a). That regulation only applies to National

Forest System lands, which definition excludes the Shoreline Strip since

that property was acquired by the United States for the benefit of the TVA.

The Court nevertheless has jurisdiction under 18 U.S.C. § 13. Section 13,

commonly referred to as the Assimilated Crimes Act, gives federal courts


                                     73

  Case 2:13-cr-00015-MR-DLH    Document 112   Filed 08/01/14   Page 73 of 80
jurisdiction to hear offenses committed in violation of State law that occur

on land “reserved or acquired as provided in section 7 of this title[.]”

Section 7(3), in turn, tracks the language of the Enclave Clause thus

establishing federal jurisdiction over lands acquired by the federal

government consistent with that Clause. Clearly, the TVA’s Shoreline Strip

is “Enclave” property: the federal government acquired the land pursuant to

N.C. Gen. Stat. § 104-7 and accepted concurrent jurisdiction pursuant to 40

U.S.C. § 255 (now 40 U.S.C. § 3112(b)). The Court may properly exercise

its jurisdiction to hear the allegations that defendants committed unlawful

acts on the Shoreline Strip in Graham County at issue in CR-16.

         In sum, the alleged unlawful acts of the defendants fall within the

purview of the jurisdictional regulation and statute cited in the indictments

and the Court, therefore, has jurisdiction to preside over the trials in these

two cases for such offenses.

II.      Subject Matter Jurisdiction Under The Lacey Act

         The defendants’ second contention is with regard to the Lacey Act

counts in each Indictment. Specifically, the defendants argue that the

Government cannot show any allegedly unlawful activities affected

interstate or foreign commerce and thus the Court is without subject matter

jurisdiction. [CR-15 Doc. 79 at 5; CR-15 Doc. 81 at 4-5 (“the government


                                       74

      Case 2:13-cr-00015-MR-DLH   Document 112   Filed 08/01/14   Page 74 of 80
has failed to produce sufficient evidence to link such acts as an ongoing

‘inter-state’ conspiracy that would give rise to federal jurisdiction”)]; [CR-16

Doc. 77 at 4; CR-16 Doc. 78 at 6-7; CR-16 Doc. 86 at 5 (same rationale)].

Without any interstate nexus, the defendants argue, the Court must dismiss

these charges. This argument by the defendants requires little discussion.

         As relevant here, the grand jury charged the CR-15 defendants in

object one of Count One with conspiring

         to knowingly sell, acquire, receive, and transport wildlife that is,
         American black bear, with a market value in excess of $350, by
         providing guiding services for money and other consideration,
         knowing the wildlife to have been taken, possessed,
         transported, and sold in violation of and in a manner unlawful
         [under federal and state law].

[CR-15 Doc. 1 at 2]. Likewise, in Count Two of CR-15 Indictment, the

grand jury alleged as a substantive offense that the defendants

         did knowingly sell, acquire, receive, and transport wildlife that
         is, American black bear, with a market value in excess of $350,
         by providing guiding services for money and other
         consideration, knowing the wildlife to have been taken,
         possessed, transported, and sold in violation of and in a
         manner unlawful [under federal and state law].

[CR-15 Doc. 1 at 5].             The gravamen of these two charges is the

commission of State offenses on lands over which the federal government

has jurisdiction.39 With regard to both of these charges, therefore, the


39
     The Court’s analysis resolving this first Lacey Act issue in CR-15 applies equally to
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     Case 2:13-cr-00015-MR-DLH       Document 112      Filed 08/01/14   Page 75 of 80
Government need not show any affect upon interstate or foreign commerce

– legislative authority over the land in question by the federal government

provides the basis for jurisdiction.

      The statutory provision at issue, 16 U.S.C. § 3372(a)(1), makes it

unlawful for any “person” to “sell” “wildlife.” A “person” is anyone subject to

the jurisdiction of the United States. 16 U.S.C. § 3371(e). “Selling” wildlife

includes providing guiding, outfitting, or other services for money or other

consideration. 16 U.S.C. § 3372(c)(1)(A). “Wildlife” means any wild animal,

alive or dead. 16 U.S.C. § 3371(a). The grand jury found probable cause

to believe the defendants were present on, or conspired with others to be

on, federal land and thus were “persons.” Further it found probable cause

to believe defendants sold wildlife by providing guiding, outfitting, or other

services for money or other consideration with regard to bear hunting.

Finally, the grand jury found probable cause to believe defendants’ conduct

violated 18 U.S.C. § 13, which makes State crimes federal offenses if

committed on property subject to federal jurisdiction, here the taking of

wildlife in the NNF contrary to North Carolina law because the bear taken

was under the State’s legal weight limit.            No failure of subject matter

the defendants’ alleged commission of State offenses on lands over which the federal
government has jurisdiction as set forth in Counts One through Six in the Indictment
filed in CR-16. For the sake of brevity, the Court will not repeat its analysis as it
pertains to the facts alleged in the CR-16 Indictment since the grand jury alleged there
only violations of 16 U.S.C. § 3372(a)(1) and no violations of 16 U.S.C. § 3372(a)(2).
                                          76

   Case 2:13-cr-00015-MR-DLH       Document 112      Filed 08/01/14   Page 76 of 80
jurisdiction is present under the first object of the conspiracy alleged in

Count One or under the substantive offense alleged in Count Two.

      As relevant to the second object of the conspiracy alleged in Count

One of the CR-15 Indictment, the grand jury charged the defendants with

conspiring

      to knowingly sell, acquire, receive, and transport in interstate
      commerce wildlife with a market value in excess of $350, that
      is, American black bear, which the defendants knew was taken,
      possessed, sold and transported in violation of

State law. [CR-15 Doc. 1 at 2 (emphasis added)]. The federal basis for

jurisdiction on this count is that the wildlife, taken illegally under State law,

was thereafter transported in interstate commerce.

      The statutory provision at issue here, 16 U.S.C. § 3372(a)(2)(A),

contains as a necessary element some affect upon interstate commerce.

The grand jury found probable cause to believe that the defendants knew

that their customer was from North Carolina, that he possessed only a

North Carolina hunting license and thus violated Georgia law when he

killed a bear that State, and that he would be returning to North Carolina

with the products of the bear he had killed in Georgia. Such allegations, if

proven by the Government beyond a reasonable doubt, satisfy §

3372(a)(2)’s “in interstate or foreign commerce” requirement because the



                                       77

  Case 2:13-cr-00015-MR-DLH     Document 112     Filed 08/01/14   Page 77 of 80
harvested game crossed state lines. Accordingly, the defendants’ second

jurisdictional contention is without merit.

III.      Entrapment

          As another pretrial argument, four defendants assert that they were

entrapped by the law enforcement officers conducting the investigation in

this matter. [CR-15 Docs. 92, 93; CR-16 Docs. 98, 102].

          Entrapment is an affirmative defense. Jacobsen v. United States,

503 U.S. 540, 549 (1992). The defendants herein would be “entitled to an

entrapment instruction whenever there is sufficient evidence from which a

reasonable jury could find entrapment.” Matthews v. United States, 485

U.S. 58, 62 (1988). This affirmative defense places upon a defendant the

initial burden of presenting evidence that the government “induced” him to

commit the alleged crimes. Jacobsen, 503 U.S. at 549. If a defendant

comes forward with such evidence, the burden then shifts to the

government to prove beyond a reasonable doubt that the defendant was

“predisposed” to commit the alleged crimes. United States v. Sligh, 142

F.3d 761, 762-63 (4th Cir. 1998). The affirmative defense of entrapment, if

there be any in this case, is factually dependent upon the evidence yet to

be introduced at trial. Accordingly, defendants’ motions to dismiss based

upon entrapment are premature and will be denied without prejudice.


                                        78

       Case 2:13-cr-00015-MR-DLH   Document 112   Filed 08/01/14   Page 78 of 80
IV.   Due Process Violation

      All five defendants contend that the allegedly wrongful conduct by the

officers conducting the investigation in these matters was of such

magnitude as to deprive them of their constitutional right to due process.

[CR-15 Docs. 92, 93; CR-16 Docs. 98, 102, 104]. A constitutional claim

based upon outrageous governmental conduct is necessarily fact-bound.

United States v. Russell, 411 U.S. 423, 432 (1973) (“The law enforcement

conduct here stops far short of violating that ‘fundamental fairness,

shocking to the universal sense of justice,’ mandated by the Due Process

Clause of the Fifth Amendment.”) (emphasis added, citation omitted). At

this initial stage of the proceedings, no evidence has been introduced

before the trier of fact concerning the conduct of any defendant or of any

governmental agent. Accordingly, the defendants’ motions to dismiss

based upon outrageous governmental conduct are premature and will be

denied without prejudice.

                                  ORDER

      Accordingly, IT IS, THEREFORE, ORDERED that the defendants’

Motions to Dismiss Indictment for Lack of Subject Matter Jurisdiction [CR-

15 Docs. 77, 80; CR-16 Docs. 77, 78, 86, 99, 100, and 103] are DENIED.




                                     79

  Case 2:13-cr-00015-MR-DLH   Document 112    Filed 08/01/14   Page 79 of 80
     IT IS FURTHER ORDERED that the defendants’ Motions to Dismiss

for Entrapment; Violation of Due Process [CR-15 Docs. 92, 93; CR-16

Docs. 98, 102, 104] are DENIED without prejudice.

     IT IS SO ORDERED.



                          Signed: August 1, 2014




                                       80

  Case 2:13-cr-00015-MR-DLH   Document 112         Filed 08/01/14   Page 80 of 80
